Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 1 of 48 PagelD 1

Series SRA Ba.ccKissn —
on

Sey srven et A —- : ; =<
2: £0-~ CN = 69-JLA-XKCf

oa xs : : : ane

SWPV aun Line thi SS, Meisieam Kaoned,

Lt Cw 2 \ien Tn Be eayvery Sai JRASoOS,

WW 2\IPSR ey TAGS VecM Soi TMans Lid

JR Ce eSy GS ity ors We Cy BLCOV-ETY

Sa SoS O42 Deore) evs PAR Gen

SL. aot 2 WS. SSS geow Bass, NSS TM

Th eee -2T | yt wit Sen, DR- Tinea eau.

NS Cat w ey \“ si
BOE K OL WR DAV OD wy SUE Tee, ms Ze SpAT oh,
An& - vi ¢ 2% -2s ‘ STan-< ,

x : s 2. 4.5 5 ; 2 SBta Sc

Sis nan po D2 SATE ‘GoM Ss Wenn edu DWE. vVawes<

ne Mat en2iy Bic <, RA SD SO SAY We Oe ec |

PS am Ve PED, CVVSTia Att 2D Lunar asi,

AMDSTAW Woe §& pens; FAve My Suk ai, Drona

AS ots KOSS yy Sawai SVS C 2s KoeRerin

ems S$ hss OF EET nS m4) lento LSSSE OmE\PS,

WATS : - : = : Bien A

IDR. Den eal & save WBS) me. Yan CATMES Ms. $8 Lang

Nw Lees BR. covving, Sones PR, celal Pecsss,
ae — i secthn Oaeia
a x = *

Cav) Goce ee eee 6 Oye, NVR. Ao oS san,

Die. lec ws Pe.
1D 2S 2. eo ans

Tis ‘as G. NelmSm OF SEV OV SS CA SSSS Pion’ ore 2S

5s

\ > \o 2. Sy Wiseal ae 2S ois Sey

PSSA OKeC Sos SS.
Ay CS SNe S EW Sas 2 ma ANN ee WAS SOE, Sl Ay

lo Oo, Car W-2 g, V5 so moos Crave e, TY Sh wea erK Ne BH

LeS\\ So go\ay we 2& FAs. Sew, TO ono KS| “WhH|ace

{even ~~ fe i oc tes Bo ene e VO So Dino-Se. Wy G2)

KG @COaNare, DCN wey CNS SS ASR SUNS bo45 5h. ms S2SeoGny

Phe eee ae Wook. sb FN Tn ets owns Core Viner ao cs

Case

2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 2 of 48 PagelD 2

Seles Ses 2S > GSS Vo Ot SS SUH SD SO @Gro\ \

qe, Bae Save he eh ore SEV es > 2 on SS Soe BMG o By

_| Be eos TE Stoeen 8 OC, ee men? A OS Ortaca se OTE

Cavwa\ Aachen Ve wr suUe

SOO Ss ES ee Cy Re SU ee es tes bs oy ‘A'S

WJ. S. 6 >» S62 Nee 19493 sa SSSA es =Kng Selorivisiis,

Wind 2s SIDE OK Svate2 \ow , 28 SA SEs secuse & soy

Nn Se i, SR 1 'p aox«he Wem by & Suysel e sh Coun

Wes Duty s S. Vase wees SS wis c+ Sex =u,

(S55) wes) BU Se) OSS ee BS EIR on 88 se.2aK

Se ckat oests Fey 2S aot ED A Smee © > 2.

FoT So ns = es Soe Mee. Se CS eer Ee eee Sa

BSS Bis co Ay Ny N28 5 CMe seccy ese seen Cul e

—

Gay ek 2 S a sc 8 ~SSQcy

DoW Qe DA sh ene Brie loS o% whe.

Seven ews Te\ews Oo Sevi\ ON 9 GSraAv?’ Sy

Deets i revs © ee ee ee

BOS EN SUS > & we {> €¢ Oo Stes Rost oF Cwipaten ans

Sem AWA Sesvs cess CIV-C-> &.E-Yiwvneney 5 OT whe SUNS

as Shain Sen land. S2ins S> Voth aoe LS SBans Ne

yo We 2S one 6% =>-\, QoS5Sees! ve a Gui

Vo Wet 2s Pon5\ bi At Qs SNE 5 4.2 ay, THA GBaonitSorv"’s

ess [8 REL OK sa SX SeCvicg SL aN sae WOT Wn +> Sy ee

OF Bol sts Ta BET CS wiles CB.5 SYteqgnamy rsiovaveay

one) crs\uy Won

Wha ew ocad ot Wer Zh

bhR2@ comin 2h MOS Goer nelanGe ©G& guchw weirs (SITHe

Nfs ZrBernor & Via s CON S52 Th? = S8o . oenel ees Som\ ASSSe A

al O10: > wa Susy Se

Eyes 6 )

CAMs sten KouanecGs 2enS\ Oy 2d jou Tne DL PSM me ay:

+"

OX chilasen ends Gacnilies See eks Se Tne PADS Gum

TALAET SE Sore Sexwa)\ ViSIORT PK ebay sf G-v -P.D Messe)

Qos BE AD SO Viats\2 Gnd Ve SPaeas ble AO Wet BSS

Slosse SSyanGe-l Sab s;ohiss suo C& PR CITY Soh NSs GS
BomilSBese, sbi ssh vam VO Vii SAVNIN LS PIS ESOT

Case

2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 3 of 48 PagelD 3

KS Wht \OWs of tHe SVOTM!e OF Floods Qas 2h Sth

@& SSSic2 wine Sine HSS VIsSiSr as ands HOAs SS

SALE Be yee SS Sv AWS amy SOW Bums WT eS CF esa Git GOV

Sah Se sSaq6.\0 VES 2S east sees i Loo We Comiedi 24
STW & ZO Siw een GRevVick® lt SN Vet Wir. Sree Svate

SS SVEN hee eer SSE Se ET RES Wak oudsa.sr \nens sy ONT,

ak EAS SST Ze SEV CHS ew Bd B Eatin Qe csank or SER

Asem\i cays) see, BRS, YK L NOW Sst BWTOVALS CEA ae

Ey
C.Yr\ne Des Badsanis cawwse Whe, PET WAN |e Sec SAodd
AoSwSyy Lou oS ADAAWS, wASu sh “Age QO : - eciverwe

Vrei VENU denne’, Fs

CRA en QL sCas 2 SAD QUA sy Tne Hea lyre ent

Qa Gwi lise ack Saciliags selves Hs We ’® BSS QML

Mrwle AVSe Sat GS=N- -?P- YSs SQ Sassy, Rats im Dias, ‘eS (eee

made Tes Poosinile i RS SSBAL ET ors RSZvAQASn)l

ebb hans SN Sirs NST SS ees Tis aN SwASOMRS 5 ¥hnt

Loans "eat \nS SVSaA 2 ait SVav yas anak WBS OQanh ak

SSS sees Clr SinS Wes Viasiar2es Gas WSs Gs SQVice

II Wert § E5205)

SVAN 2 SS Gokrn eS cs esyi cdc BT evikeC wis ne Siaye, Se

> > CS el were. Vs Solty C\e.4 6 Sh

CHI Ww 216 esr ln oF 2h WO nas bee C Ww 2 VOSS ky z ——

hea hw. cartect Case GSoidirens Caecs>- AVA K Qo» Sak

GTB, ROO ones MLC, WS G&G. Caen) Sob Catt 2cysoe

es 2 Vices oF uu dw 2 iB a IMOMVALOSS \ cc Siac outs cye LO Yas

BK! 1A SF BAW esss Ms = ~cr (eR: AVS (4 sini
Chavet > :

COWoa Ages were Slesionsar SEWicic Boy, ACE

‘ Na
AWWW ose 2 S\ang, O & SOC ae and CDO-C:S-¢ wear WSS

Case P:25-cv-00065-JLB-KCD Document 1 Filed 02/10/25 Page 4 of 48 PagelD 4

RS vo Wns anens rele Cp WAVIESRWy FSO SV 26u SS\ Wa ALORS -y

WEN BS Somes ANS SaTsos Ye \a Cy Wecsvicy Salirs Ons
VA c.. 1S Se seonsibi2 ya ¥s 551% A, WUOOCES , NoFecciaayd

Sct ‘Wasiy LQ OS) CS Hey MA SMns Nees x Gonit enc oS)

sb\\ SESS Ro eh 8 Sey Aen 2S GUS MAN TS Gores

eos Coosa Wee GALAN oc. ST ger SRV ORS Ra ee

when SW? SNRLTR, BS S\SC Se. oad CD-C:. &.} esa:

Set 8 _aP- &@cSemvesa Of Se Rely Xe. CAVa\ Coon SAL

Cece As. acs Xo ZNO, SS Vyaes\o ons VT RSS onss toh

ANN RAL aSSyenre, eiake SS\ORSSN Gond ‘Wat vl Su A

Cere.& SRN Sent egos ee Coan t eo mA Sh! (Side

T

TS. > “Sine. S Brrene& PULS > Sm. “TS “TS Leena < = = \s 2.

MSA Se Om SKS lomo a Seo TS By Ss aeVA oa oS 1S,

me We Oh, Te te & CSTE St Skee Wes Yisiow &b Sed Word

Bie Se kte & cm sete S vA SSN, SURV Set Yet £ & Sin,
See Coen See tH TS wt Te Sones be lity Dp & SN ROS WUiNG,

)
re & Coates n 2d GUN Sk &. Soe on eek Sey es SXOVAS <<. £
Wee SRS SRS ODS SNARES Se Sam CH- e552)

He WLK VARs Does oS a AY at SeV MAST ND AAC a)

NV ‘nO LS SY = RS SONS ‘Ve SA 2 3 aco) GNX Sa 5

~

\eAeacats » : esy

TTR se ees Gas *§ we ettew ce BS Sic SA CTs G3)

JR. 2 De § Ga Sees CSvseg KWe MLTR an ts TLE S20cn\
ASO yy los PL Menaanas, Nom Sy) SS & Wee oe Ame siishive

\ ets Vay Qe S 2\

CS yew Sv Boy GolWWrr1esensn ys & Sv ns Ora ak wenoegitn

S DVN {> S

So 2. Ak eo 2a So Dablht Qui Sfsmons ole Woes Cate atSihass

rie leas SSW? Sisi®t oF Sishi $a Qa sHert Qeorh 35 BHLE

DS Anes SA Zhen Weg Wasieanveh Sak has so Sale Io

7Se\ O48 Si Svc ed Sa DOW Tok ‘ot @atin ON CosoG eS “ThaQe
; ~ S \Wak se Stn
aPSyiy ¢ & TKO ARS, wei EHS S\GL2, oF Siots how med COs 06-5.)

—

The Selenite Bs hoy aS MAW OT We mn (CDR Iwhete

COM> 08 Sew MV Aoavo\ 2s, Noofs\ pee | Henin eS ZB V&V oe Se ANY

SES est ho, at o
oh ovuw eau 2syaxhs Oe HSemdseaims |esU$2 Whe MBM a te

«<
l —_

POX € Se VaASeSy ow CE Noo Bin a WeSoss As estian:- --C
Wes weave VNebilimty Crisuse)
i = A S 2! Ste B22 coy 2h WS OVA Sas

!
5

roast \a.cy eh conitoCi ms Gives t Testes Bayi ® BS -EOR

{ x \ = —. —
T¥. % CAS OSS SS es Trt Klooc aca Gay) Cen os Sues Saw Gant 26

Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 5 of 48 PagelD 5

{ ) wii the sts e SS Kyo bor eat CD1o S18 > os SNA Ss,
RZ Moms ol Ve ss ASSe S88 yeste ee \ eects se Ni VN a Sey

Gross Weeoes = CO ee aks & Sm =o TNs SENT yar ch
QS SN SN ze Tee Vorwts oS SHR SEAS SS Sot lisO. S13
CDic-S isd BeswAw 2 bi Seka VERY, CASNS2 sso NACAVEE

Cas Sel) Coles & ols saxo MST Cee TS GWAC Oy aes)

CoS SOs €. WerivonrevsGS so Lees Say 2G Dads 1s & Cs-

SmvurAee OC ~ Cine Sve, NS Wa: S-Rasksé ank ein a
fas wee © oes: eS Pans. e va Was OS SS yee etah z ssn:
Sees” es WA SSE . : j -

TSine sSexr eh 3S Sito. 8 ea Sh ee SA es DESVCE Se

Netw CY, SNA S& Wes “ieNete a SS See Wien << 55 Se Nee “he ee

gs Ween SS, boy Suns EE eaten mS OCoesSe ce 1 THR

R 2 secs Vy aS SVLT SL Pyne, = 2: FOemte tae es TAAL 8S g

TS 2 Skier 2 SL ii hes WA‘, T= AS 5 eS Sistibhe,. aot CB -C-- SS»)

arn, WR SOAs. ‘ns S ~ Soi, ot DR. eR TS tec, CS wie 8 2

WO MCS 200, 22 os SOO§ ale yy rhe Ses ge es nS Ree Oe
A s ; :

~¢
WASwWed ie Visit wy Ciavse De he HL&@ohmsis Nas Ov Soy

Deo Sci 8s SY ori CS) win. 252 2aich PW sma aovow ¢ >

\* ‘ _— — \ \ < 2 ‘
Asse \ Sy Va Sere ye 2 NOs Nos BAL Wwe SC Ra Sot SPS SY 2 oy

Psa @ Cm nv es ana Sotnesancce aS show acts C2)

Snot 3 Osa Gem, Gist Seve Sh wey 2 \ oe 2S 22> WANS VAS

Le C24 Facet LEC LSS S10 Se, a> So toe SP sis bie
Swe FT 23ROos: whe sn Ss OF Sieve), ORGS S Syaford, oo 4s
mani ~

WES one. s PSs eewS Ze SHS Lees 8 se AMS. OF SISA &

Set Wis Geis of oGSSae whiter. #he bas Vislered gins bors

Soy See OS yo b&w sky, Suy Suns, ELE Sein SS CSA aoe

La eat F 2S anSi 1) 2 Sh syle 2€oy, a RQ Cantey 22
* < — —. .
= NO STP ake ess SOTVA CEs i> Y Wes wikhawhe Siene So

\ ee i ens (C=C: S-S VIS pee Pnrmouiis har =. SATE, sft

M2 Goma

Nee SQ TEA OMS Ef Setsqnmi iw ww by os oleraina
i... ae ‘ : mA Noe Wes i
homeo S* AT oor en: - OR eNve wwe \ is LY eiteins 2 5

Case

2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 6 of 48 PagelD 6

Yes Wis

Moi «x $2 == Ay!

OSE & ES

ab ce
=

ns Carin 2 BES Sot eyiye

MSS OTN APSVSingisn: -

C Vet oe ES eek Cope SiN Qua Weaes ease CL Sarees Tal ss \

= \ OMEN SS Tine. lee Ss OS THe STAN
SS S\esy & a ant Wis Oeiw af SESLEL SOW weit

he Ano S$ Wi stor ee Qin Woes sO Se NES SS

SASS Ce oa SSnd eens SS 2 ask Ok casts eG 1G Hs

Ves. See aos CPT: She, WES @n2Sorewy wows Se ST Ah

Sef SIV oc Ry = S oN Cr Yat ete ean eS Sto Ny
YeaAVSi vy Sy “ait PCT A oarhnoatia7eek Viv ow Ass

Sa. Cralr €.S g, 2a. oh SWOel SY 2S TNE Osoemavs eA mah
Sau rete edn E e DS guy tia Slee S Arma ne DLS Lae ess

BSVSe Tee STIen £8 SeSssac 7 aAS.A You

ASG ss & oy cath eis « : Goer iy os vie Vicia Vie, CleuSe >
|

Cia > Ms_ qv aS wc Cis S5 Aen ope is eee As =:

Wee cin, &®& SHV QC owiaon BEL CM-D: & Di 2. een

SN SSS Weld om. Laie pon QAR SSR a T2ceaie s SAV ,

Sed {BAN Be, Sos > MOSS Ses Vi OC, WES TES «ay Rs

S OVSTV = GS > ib Bias ao Vie bte Dens, SASSSos ye

we Wes @esS i honk, Stes Zoo ys QO’ Qa Yai Mars Ao

| Cemtvee ORG TOSS ee 2 ee ee eee So eF vy &) ste Qoshsen

we Tint PSV OA ZS Pe SNSY cess Wot he \owy = DS * TRE. were
| one S\at OS Soe 2S oom SS Seas OF were, SR Vos

N-\yDl\ ae BS Bend Nes HO Sen y~WwS san Ww Ve SWyurS AON
Case

P:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 7 of 48 PagelD 7

So SUES, OH GOsst oN ng hes Cesosnc\ st Wy oS

GVA SSCA Sy SHE COMian Cea Te orien ea SQN Vick

SRO. SPd Sata en Sv xt os sia ae CS ES Se)

ry ne Ween sd. on

wt REQ -

einiiieats sy eS a c v & WK %
Enon SOS in

Cevse “Ws 2 Smo gs a NaS ut Varsoe€y
& Recyen |. - CMBesWeamyse Virb View clery<2)

Pree erie & Chinkt ed SSS Ges CA: Gd Wot h OF Sv>

Vas mS, Le. Ant BASS SRO TUS GSY SS SD As, WS BWA SE

SS SVS Wol\iaee ASS e. We EASSAW Fee sv ayy, < UINTishe

oc = 2 As. SS ee tees So a, SHE ORS ~ ELE, Low WAS STi honk

CVSS. Rae SV AESANA Svss\ BS SOY, O-o® Woes So

INo-hR cdiph SstTnHe vere, oF SASC\ Ge~ SS W2e Seta

ts SSRs OS wires She hos Viator eS Qua howe ES
SonlSs wa Wek DOs CBSO So WA ect HLS a Ow aS

Gown ocn an NES S28 han = Ss UST owe OV ese f ENS,

PR we, COMETS CA KE BATES AE geewtce! LIA SVT we Rin

Tne See. OR Sy osi De. qr (DO -G- Ww vey wine

PeKent oss Snes =. ee ISVS RY =a eG Coy

WA £82 2. REED Nina SOA SLY: AsO OTK

QuSee oove ZAR KN OMI AP UAV Cn Teck BS SOPt BV eo

Pe WAS. Cro Gerenv 2. Ques §& wn esa Ce. a such, ree € 2)

Wee SVS qess CaevtsS. re Vn * yeaFtea Ze Sw BL« ONS

[Vo ONY SoM WO Bvt Sere von CPS esat oan Nae Merc VAN MY

Clewese )

(Va. 5 NAS» GCSnSI& we thee Cus S09 PRIS Bd WIA Tne CA eS)

VOay @ Even 2S Sicors Wt BUSS Al Sve Rave LNs tole Gs

Yet ~G. \igo SAS. FBS DY ae x SDA SMs ong -S KS Cyn 2 ereQ\i ms AcG

ose ¢& ore ko EAS, SS Vas‘ &. Sa [e= Wows vere VN

Wwees, ox. Cal Stake gsioact, “yew bs ites CnC TS

Qs Wows Oo. ‘GER EEO es ado) Sow vo Tne

te Se Oa 2 PISS Vw h Wewn® Ven, BOQ WTWHe CiBVS O%
VAS e. Gece HRS Bate SH SEL Ces bo whiGn SHE

Inens Wa cleske & ood Kee $6 Fouts ta Hes Ki Roce

_

SVAN eo ‘eS ek eee. S&H GErepe GY AG HAT CSS Sens! PY

OS Sv RRS S Wore, THe GOcNESEed BTC Groen SAT Stvene

& esy. CQ GESNVNIAS WIS TING SIALS SE Fi otis. snk CD- CSS)

mr S Weke ernie Koes GS SS of DAH OSA, Te oct CAD

Win ete, 2 Or SESS SSN ‘Av aly LS Neth Cry QidingS eed

Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 8 of 48 PagelD 8

C ) Wns BAVA => Sy 2s: 2S QV S Sh aV@ &WRe OSM yd
ec KOTWES SATS, of suc ethaC Soaine DHSS Cwdsaess
CPUS Tne Sh LE MSO S PLASSES' AOS SM MN Wins o ST
&y KBE eas - - CH eQicos we Viet SN chessey

CS) VEL - Corse NVACIUs KEY SSSK@S Cis co CeoMoyes
Ses TRS Cl SE orcas SS sources OF CED $95 Cracks G2
LAY Sgr 2 AN SQLS, WAN Sows QS > a LORE LCs - >
kN et EN SENS SSCS ES S&S >Re Sy 1S
o> TSS SAS, WAS NAW eS seater. SHOTAESI SO om
Se ike ot Yau s\_ o> Mosc, {sas Ye eee) COGN Set wh

\omae GE TW Shee of Srot\ de mi WEE Gecko ae aSeves

ok Weicn She Wes Vielor eS ane means oS FBS 10 _
Wes {Soc SN ANSAN Game i @erGw oS BORIS WA Feed
Vespoacs Es SH BVRsS SVC as, Toe aoMpsere A

Wl eee e@ee SMovisec Wiehe Sie SS Fotis a
Toe CO--S:S J Tre Mee Cosc. 8 Woes. es HUT eS

SNS WOl lS Mos >CV Cas) WR ENR Loo PES SAGA

C Pl Ose SV 2k “ee DGIASIA SA em bs SAGAR Sense O-<
Rak ee one gil ene Gee iter coset “Tne SIVMaswel

2 QS-<se 5-1 AOI Nou We Svre ER SGA SO > .eOeswarive.
wth wy C\erseS

cw) { ~ : BS \«< 8G I =e c; es
Sete Ge) ORE Ct Kot CWS S&S ~ynl & ston PSS Qs.
N SS \a 2 ST BO

2d\Ovees Sos lO? DS, S> Wed) 2 one SPs Bsns ‘en, AG
VAS oS Si cuore, MoS \ a ons Aas sna wWidveasr GS HKATY

Qe Hes GS. COTS Ce ES SON ok Wen xo THe
Bes Toa Te Vows SE THe SVE E O&

Se ENN wam@& Dmuts
ANSE. cnn Ws SET SE SSK. ce DE min Ge NO Noss
Mi sleies aan ines SO Re tieS ta Ws Sy ey, co Sy

[RS Sees Wendin Of COGEYS CS ao THEE LESSoos Sy
SG ov 8s {Sy ee FHA COGS &-NC S SEN TK CO “SNS Shes. COR
Rot Lex wee e SIS e SE KleGecact CS-C-S°8 >
In’ 2 SPeSensancR WO-s = SN aT Ta oth To em CA
WhesSe 2ocm SPS Sons VaNV BW RB \eoSi ONT AN,
usw eC VeAce Kv awei nervy 3 Ss st wa tov 2

x Wie Gookwayve & oes S erste SS OES oe £ OS. Mats CA)
Rwe DeSean SNES Ce SR “TRe MEST) op 2S QRS Socs.\

i AGONY, Yo WUNSYse STAAVicoe .. pes west) VSS ON \at NT Y

|
Cv\Se § & 5

Case

b:25-cv-00065-JLB-KCD Document 1 Filed 02/10/25 Page 9 of 48 PagelD 9

> S AS >

OVE 2U HE “eee Wag oS “Tyee SVG of Slethis a and WEE Qe

os SEE CHI SE WO Gn SU eis Violates aoe We s so Sab PRN

ee Wes Saw Cased ST Soy 6 ace eh. 2% Gasset ey YA mr went

de

R 2 ces tie WE sale ON BS SES a wh COsSWen CLES SM VSs @
Wi Sere Bhs S PSVAC Bs ROVAA wits Sie. S155 & eS Qos

cmmae Ch~C-< 6-ys ne Dee Paka. Hee Ge Sey as STOSiEy

4

Hoo Gms GS wih et 2: 2b Gsssonmily ay oIes-Oa AcoShs cay

demu Tae CAS Say JAS Ne ayy mcQure coe X ot Reh al Qh Zye

CoGiame € se sy =

LSS WYSin ox 2
Katte pS S\eidhe eae CSS. G&S oe > 2-€ QnA aus Nees S-

Sasso, De SSRs > OT OR) wh 88S OO Wesh Rot Sy AA

iC

= = Sess “WER ZS 22 \

I\ecRs C Atle DSECe Saws GCowSO Th 6 se STR Oe 8 m2ES om es

nse S Sous PENSeS ie a Ve meBsvse Se > ~CocSiy sive

Hentor 1TM jlornse)

STS Chie’

Vt sag} aoc. CS. wy Tvs

\enis Gh "we See = , Sys SS Re
MwA Son 4a 2, roms Nias , :

! , \
LS test SE RN (hh sf Geaee Th we erere § BS Bane toe oS
Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 10 of 48 PagelD 10

bw Wemyss aetterven - - “Cy erwexive Vi aot EM Asanst)

GayNe Gusta semieQs es somauek SS TINS Version

PS es LA Cer, tooo) Gov eSncs CSS we Ta Ss & et TS. & A S.).

WE AMGEN Se Covesw S mises Qoob Ss thag So Viaide Sh

Sree Vedtiy 1a Ak

= a < =S 9 Sa

CAo3 5 2)

QA Kase WALL oan (is cS © TAGS OH 2c Sets ye TS Oa Cleef moein,

TRA S Vee STS SURO OA Biatinen cua whe eee Si

Sk wh We Wes WaS\ee & ene Wee So Sesion ‘Wa Wik

OS SV eS Chase Ty & CSS SER ES CSV ANE “SO ec ien 8 SL -Sesvice

SoviS 25 wee TES Suet OF Kye. 2 a eS CHS ~< iS et e

— .j}---—— 3 : 2) a SustTRes axl S
air so ss euoms CR YKWNE DEK ERS cs CSESE THe SATio n€C
im PSS ances SS VSN Sony VUORVEN STE seam: = Greedyen vie Wy eu SEAN Mi.

c Ae S a»

(3) S32 -TSavist sTinian mS Cys Go erngiou 22 low i eens

Case 2:25-cv-00065-JLB-KCD Document1i Filed 02/10/25 Page 11 of 48 PagelD 11

eo.
so Vis Os DN @eS2 Moa Tre
avVaS
Te S CaSioune& at Sue tieunce o£ sUC\ > crsC BYR 2
an : 1 Oorw Sa see GN voles i

Wweres SD Seyiga ae wos Say SAS ovis, Soc VS Oa Uh, 3%

Re, OS ay @ TVD e. wv ae Loe SEQO\ 26 ues ac apgsave&

Tine Comin od uma SusTRecanc 2 ofS sugh wore CRIN eS

WAS Ue SPTRSTi ow: «2 GHevilorsey Va eto VX me veSR&

7Thkn se, Venues S-S Ne Slate OF HVOC. A So eee

@SS\ce DS wh Ch, Sho WO Ss Visio 2 and Wot SO Serives
fe - ms ' “

RSNA ESS eSkuc. tose ey oe Tots Seo wNN. Sn Bee Ne Se SES
\s . :

DAN DVT To AN Ca where 2a ch LSS sas \eaNoyy 2
Lassa CNN, @utn cS 125 GS SAN Ss SASS SOQ Se, 2. & se

| av os wR =~ os - en an 2

Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 12 of 48 PagelD 12

—- ar.

SAO sSDSeowy AS Sy soy WAS YSy ALS Soyee: - sCDHecvyoerw se

sla oR SEY Crier se)

25 5 & GN W.2\ Gorn & Cw @\\eorv. ALSVO lala ans oth.

Yes o5 Sucve A
SS

7

CoA ee Sho SA OBI (Doh. o zTOoThe PVP Sasoee ALi s S aN

PSR leew ss o-S Hee SAPs OF KN cee Se SS nae se

o*® Soke ce 2 aml Ole Wn te Wee's violas ti Sens Wess

Conn eS ves 8S Seeaamtintiny aS avess BOD,
TAR COSTS oe ARE SO WON S Te hon ase BLSV AS 20 Tin

PAS) RS i & RN ee yak eee Ch UG ee Se ee Sh Lips oqiry

ln ees = SVAN, at SOA a SOE TO VK (AYW ee 2 ee Orn
; SN,

\ vous 1 Vw C\enuose)

CS) 28 VN ‘2S DA, Cis s> 2 Vo: & yc ONAN Sars
SS SS tna Aoas . Ww 2\ a QV 2h DS\WE AS!

WL Oe es see Com ee CN as on PLAN ee \2 8 Sot CO AN

SEOVWVCS PLS VS Kos Tne Apes as on o§ Tet S\Ssvudse.

Qyw\ Comemctzen far Ceetechy winhnaAHe STAs DS Sigs; ao

AOS CXS" CR iS~ Te DEKE Se do Baw god Vio? one
= ‘i

~ i . crs ‘ 4

CEO Bae SW x ook ox \ AS oc

RA 2 @ SANSA ES SvLSsQuGy Toe —he \ows oS che SVeye

aS F\ocys ae Ana wis Son Oo SESi vali OF Which 2

Ines WTS Boe hes 6s Seve & wen Wis £4 SUG oS \

Oy Tacs Oh Oe SS COGNATE eR ON VA EH OY o BaeRKe SACS YY

a
a> SV BLS ast ao. =< =, ~ = => rio —_

WINS 2 Bec’

KN Sa Sy eS Ce eV2S He Como &

oy) SASS 22 2S c C ayers @ é as
Re CS SB Paes sons.\ - SoS us Nona, WL SVN WHBi Ady WAS EN

Rete Seise: -: - COe@eivoty & pike Vt aS emake Ss

hOlaras Lic, W 2M mets Ce Gey PSY CONT aos, in, Oe NS ss

Case|2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25

Page 13 of 48 PagelD 13

Cc> Gatos >< SS WN SN 2 SES eS SST SES Vio ~SSVAS 2

{of Wh. S > Pom SS > aS SEN S\ot > ae ev: aN GS sO Dee Qian

Ces tes, iE she, SAS SE &voc) deen Sere. CDS S->s-). SS

sek Cnt oe SS se By SS Vivo te\2 Sos gecSons\ sve" You WS

OSV o\, SS s& 2 os. eaael Ses SARA ed C=S> ==

nes Caos Ses >i LS aT Tooke. SENS Teas nsVs PaSks S oan

Some SURE OX EXeehns eee Nast wore ose eRe a

fa \Ancn. WS eS Wvo\ oS & oe Naces £9 Soewes ya a RS

A SB SASS vy SSS ence Si zeck of COBst oe ew AS ek

QC ¢ each AN ae ov 265 220 Ss W@ COGN oc a hc

HESS WW NR S59 eRe SS £.SSn rice oS aVE Res Wee SMS ST ANS

Das Sve Ses Ace OS eee S +S- eee S 25 Bases ino s SDS.

SOA So So So see TS Cw CO Wh 2k = 2c>-Clen eS 2isS0s SNY

Voavow 2> Ae OES AY, a8: ahiveeoc, ASW SON ecenuies cots

>t erSSS oi 2 = = ek Come? & oes Sonne once ak Sw cls

extn s CATIA DEE OsesSs CG SS ANS, SLVMSHUE SVS sags~3

Va Busey yy wSusy OEVISWon: » + MesuisRye Vets ATs

c\orse)

Kado) Lac Gg s\ eGr< 2 S> Soom Si. Bey Son" : Se Ss SVO

YW OV. OS A Ca NN 225 S Qemv 2S‘. S OVW VOees ae ys

$2 5oo0.5 eS Vo West se S\ cel uc wee Sak a£eSo.1s0o.\

SS Vokiwhaoss wpe Ow’. CASAL ku jHoart oS 3S COGS Sean Zs

SLINSRS SSS SRem BS Seyi te gkavss yoke eo &sKe Vr& SSOes at ise
eee: Ky st phe Cry Gorscet Tene. CNN CenvesS .\e~ =e Sieve

eee aey eee, gee GN et SN Ss Yee Pe —€ cosas dbs =. SOW,
ST oO SES SS aor CBA win & 82 Lae Oe SESSSO SAN,

Levante Sem CREAS, So GWas& ZS eweiie wat we SVIESCES

ST SOs oN = = Se. ¢ oe Ie ele Suet eee oes OQ»

Wes eecks CRISES S&S  Ceo®oess Crevse THES ge CVRASOVO

ae. SoCo AMS YS ory SANS OS, WASves &’ SVSY Laos

DLC AW SVs S Veena cCigw Se >)

ISScT) Ao SR Ar Wa Seen VS ED LReaBhoud e+ W BUSS

S522 Sneha Os bi So Wi SN Sh Re coy 24 SOV Votes WR OO 1S

‘Yo Cocto. cS as Se Sy SRT SC tn Ce SRS Oe @SSvi ses

=
i Los Wee Be 2% Vee o GS aee S\Ot1 Se ew. We Eee OR RRO RSS

C est 2S Wit SH SVUEVS OS Se\ oS | Wore Od CO - G~ & °S-39 Te

Ge Kee ean. WSs — SOM Oo SOV ols TS aw CRW RES

2 T's S LTS SOT, Ve ENS Qa ‘yee Vy © SRA Ste esis SS

— a)

| 16.96 GER NENSSSNN SPQ Bs CSS D>S SOE VES Ke COmnys 2

iL mw SS Metso) i

! CPpesycs,

Case 2

25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 14 of 48 PagelD 14

Oem

so SO, es Sea Zo Wn, Veer se SB WV

SER OR SSO Wee Qoe Was DOS Of SES CO el BS WhelGn

ak ‘ \ A ac peete,
SSN, moe lO wek, OSS COC ewan Vis Sf 2.Soes \ ili <M.

ok VASSSNQ, SS Ceogr nn ae SOW SSS SSS Ges a SSS
: =e ee

S SAN eSRO_ “ES Cee Rew WRE SASVICS SUTSANMISS|y LOC Whe

2 2. Sia *

L—

Nees ES Re Vee an Was AS Se Ny, enc BL Sooty O-F

Case 2{25-cv-00065-JLB-KCD Document1i Filed 02/10/25 Page 15 of 48 PagelD 15

ou. Weotoss. & SVC Ron: - ~(Bec @mwie \Viertouls SL Crla ys

Lee aon eet ‘SS Gqvec =x \sus_ 15

S> wee maa 8 Reponste\ Qo Wis S55) ciel, oSSh 2 © Sl enol
x

mas 4 STM < S& Wes set QR tk

“
PUA RQ GOT he SAE SCRE SO WARS © “ETS erie 2S SESS eC tit STAN
TRS Gy es oS DAD OS a OS Cm-C-£2 S- yy ebeseanieanss Weed

Ea: de, LSS emery

\avealy 2 > wool) CT eotmes2e8 Yor sw Sores) st SLOW SC Cn
20 SEES SN BSN, Ceowoew ts aur cummet ance of SLCK

ANC a) ee Des goPrame Gens wh @& MAS|LWRrs HES Q-RBAS ove ces

\aSesy Yous, NSS SVE Wren: ACD Ve @warxive N\A eto es yy

iC Nase

SoC he 2VoL2c SxtieO DS TWH KV Ve Chev Cow rm SU

“CCK LEO whripnoihe Siske os Slotwre owed CE: C-Ss5 ~ YT We

W CS Pn kes Vs CresiouGe as rhe BICSTHSS sf aves og

ce ; an z 4 :
Si GY ZR OO SS Soe 2. Gy : S is) 3

Case 2{25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 16 of 48 PagelD 16

eo eS SOX WS SvUEsy — FL 5 OTHE \oww.s 2S BW Svs a

Siac .So and Weis oes © ~— SES\LCE oe Which We Wes

%

NADASRES end Wes so Sowv\es va wis SL AvE Noe SUT,

Seo Eero eS Coos ate an HAS SE 269 SOS) a WR 7%
: = 2 am 2
LS LONN CS LOANS LO With Tne CVS of HVS S ae Gen

Das =

C@ -¢.~ 4-8) se ARS Cot ee Nes SS Sow Ss OSS 4,

ROS eK CS wines 2 2a Oe Seisane Ww WoaVeWeS eos ony

Von

WAGER

Ko She PESO 2S PSS SSE RS The Vows Se whee VAs oO}
S\SOy Ro D> eh ; ~ Ww ~ A Vo\ani Ge

SG Come eee am Wiis S$ 2 omens 1 eS a) SS oy Rc SS Mia — We,

Cost ona SP vi ee TSR 2 ese te SLs as win she STARS

QS K\orl’ be ond CDS SS SNS DES Ces Ques WO-5 SD VV

ames \ ic SSA QW VAS V7 Bey Loy BA VRS MSO HPALCGS >

SOS OV e S Wis Gea ah TR Scd, Guth SS mmc S Ss US acts C3)

Hs \ae@ SP Kons owas COUSR TWh OEAVesBnVe DRESS Sac) 1 RSet

Los CES) sara, WaSosy & SVeQeyvon - - ‘ex Wweamve VV oo'S: ky

hates ae Ss)

C3249 920568 MASK OCy SS DAGAS SMWONSy 2S TOY Wi AA DOS

PHOS] Wr DVSinas Le Co 3 WW SWS SEE FE COVES SA OWsains
Wis Cina” A WEA oy Ss oS Sow SN 2 TEEZSuMWy Servite

SC avs es S oo sy es SESS DPRKTWY KyoCr ss] CWA coramityem=

WRASSE SES WO Tee SUR! See S\oCyae ans Cp-c-&-S: >

TN ee SD SR On Soe 1S Brena son & B® Qc SH SAW SE VCS

SE 2S LaQas oS oo etiomiv ome ak i 2 os G0 View) & a.m

PP sOaaSstere we Wins SES Cis), Cs S54 Oo Shy eis yy eee

Roem OnmS ~oncf se CERO CN U AN oo\isyoN st SO

Trike > FRA eX PLS Sy EON TS VTNHe, lews OF TR COM
Case 2125-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 17 of 48 PagelD 17

OS S\aCeo~ ens WIS Sei 5 © o Sieg —-— Ah oii ir &

Se OS AA De SS OO BOOS £5 SANS us See Seen ae My

SOW, Gews Dee Che OK COG ST ae His FASS goes WOOT <M

>< =e ES SSN ap, WI. SG GSES on BS SEN SAS Suse TN oss ONS

Seov 1 ce oe Wek wee Tne SUAS Nike Sours = apt

Css. ¢- =~ S- Bre S 282s oe oes S &OW Se GO gS Ty,

So SCN Sanus &, erm PLS S S Seay Voy Av 23 Vent ORNS

ee av 2

TARA. COV ZA Sere Sy x zak ) CNA ZN 2
PC SS D CSC RB SR COS RB -T Sine PH ONTO ate @2SSSG5,)_
AOS Very ony WAS VSN & Ge|nsroat “Cec NSS “+N & see iet

‘C§\ony $e )

Ca NE SS, ay aQwiyrs SS Boe e\ SY SS Veal EWSSe nn

ol evo ao Wines Vacs: = VW 2\WeSiy TR COVER ESR eee |

eee As so csnweGQ avs Sm SEWN SE & SS PSA re CRG

See GLoV Na <cs of ~ae, aOes eetiven Ook Se S\ sl iicn

eu \ Eke eee cestee: oy Se Se SN RN Se

Gyos\2 ee aot CB-4-K-S-) Tee Oekens ou <= SWAG S.&

SuS THe £8 mvc VACS SL SVS WS SNS a5 DSes Leo Sen oe Qh Sten
So Wabwiec omc SESROKE SONG eae ee See eK TA, SISESEECOHS|

Sm Vadiwa hoa CS oe ASM Sma Nes S&S Seer CON

a\o) nee so SS 7S STIR an ek Sis SN <7 te Nee

Se oe SSS 4 eae eee SAN ae SRKANGG oe WHA Ci

Se Woes VA Sl\Ss Be ors Woes 365 KOSS 15 WE

Rv ew GBS, MSW SOS SSlEs.Ow, OK GOSS. CS VO WARS

LZ > oP \ SAV RY SS OVER s SG TOS COA Be

OCW SNe 5 e See SE SENVAGE WesvyS Wl WVR\n Toe STAVE

ae BAGS we Oo OS = KS ewe YW 26 ON S SG sg HOES

oOo SOY St DOV SENEM We OR CADW AE BSE On

oes SSO SANA NAV e> Aso SYA STAY, mm Oxe aly ZS ZA Ky Sia

sc DAfS oS DL QESSE SY 2 een rere 2> Sms SRT RSS.

oe Si ch, cs ¢
=> OS ssc oe AS oSny ey, WREST SK ENS Son CEC rN or yve

Vier EAS <\ennS 2)

B25 Se acse SPwearle Gis ReaGiey2e wey w 2\ GoW 2 fov

Wn >\ by oes LL. Cy Wi 2M Dee Fecavasy SOV VSOS. With LS

Vo COS O- eR Ss Se SENN ene WS c@oktee2sm SQUYALCEe SL ONAS. Qe

Sot ST e2 DSC. SRO mie SZ KOVR ae CAVA \ cece (hm ee’

— -)-

CEQnek wih Tee SVASe OH GUA ik ao ons CG- ==)

PRs De & Cndkaes 15 QeorBron ~& |e.s Whe eee

Carolia ot PEK VOLS - Son so Ved \e ero T&S SS ows c\&

Hoiks aSSicrc\, QEOSEE Sowa.’ SiS VASAVARODA < ~Aaloe, Se
i
iSn= wes 2 See eae DWN Syerx Yor ROWS OSX Wve & 2S

'25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 18 of 48 PagelD 18

PwieS OSA RO aN Vogels mak Wnt SNS e OS SA Sister SBS oAW

a DARAVS @ oo — we '*h. Oe WW Se Wes VADASAZE Oe WSs £59

See vod “vo Wes =. S0S& +S &ON No mw Vet GOO OSs

Casto. Ve Ree CPS goas.o’ NS oh, ey £88 2Qay wine

JWMocesS @a AQ PYw sss. C6 Aer ese Ss =) \ &2v wWR Na = V2

2K Ok eye sea geod CT -¢- 7S SITES SVS Sn @ancd

\Wie-s o. SON Qo _ Qs. Soy 5 S enw CD WALT S PACA

RRR SOAS Leake es seas Cry Si SLTVASE ep eey.

Xe eat OY GOW ess C.Sey SL SOE nae ~~ PSN OO BS

SS ot Ro Su RS CS RS CASO, ZINN
CSS Ooh 2 SeXy Sor eX >2S 5 Sasa} ASS Sy Yo‘ VA TOSV
S Mrexcmiog -- -CHenienwe Visi a Chews 2)

Calo’ Vax. < LAS) 26 - weuleack Ci SES Cropr~sny @&

‘ess, we R\ND aS Sous WSS was Lo er We\iGers Sec Ven
6 Soto Ce Wie US Xo Contech = .cs = SO AN = 2 st CGR

SeSyi ce SVay Ses Ko see ab tok ee os he Svat \ Sow
SAW A Cas wece tee ee CO Care aoe OO NR Ee Se hee Ce

eené&CD-6-&-S-)- THe SeSenhionss ve Pero 2S SoS Tine,

Cn, e® =O ¢ CSSSN 2 weet eS, Oe Lo SS eels Cen

Ves Sens iS sn WS SV oh, Sksit cSyoem) Sas

~ - : 1, te 4 Ms seek
Va BANIS ooh C.D 525 SSA, ewoe Senos S&S. COON SO Vy ms

O Bi Bosse Toa BOE’ SEM es Oofus SN TS Toe

Vows O% Tine ST Se Of ClaVisrt(= ans Wic Darh o£ SSG

OS willow C18 Wer’ Violen 2S ecd ous am Sel S Pa eZetd
x

Sian SATAY Pw Sees EX Gack, eh COs SE AN We TP BOASOSDASY

SS oy Sy SQ Was WAR Corter.2& SEAS AL Wissen teen SRWVICS

Sos ia 2S Ne Win eR 2 SS SoS ie a Cs = C Sis jae
Seek = ex :

LSE SEW, AON Sy © Aco CRAY — SWE Ve fe. Mie avs Assen yy

aC QZ c Bx ac STO SV ate Win 2 CPeCeiAy 2, = Sos SK GSRWRAS IHC?

o

>< SAS ‘ays

AS CetoS & “Vr, 8, S BVA wa SES

QS. § aren) VoSuS 4 oy PLAS ARAN, WOnSvsn STi eosrom: + ©

TS LS \Woeora V 2 Va SONS Cv\ex0s.3 7)

@2-7) Seo. TAS SA 2 mM CE oons OF BAd Ca —- CLE => We \N Desi i

Sh Se Neca s$ss Nake Coy Wu 2 AN Gee SRC SN eS MW Gow Wena. TS ADEE RARE

AS Cr PNSVBOS Ss S Ome Oe ec Riv 2 SEC es, Soe We Pins Ss

Vacwlol 2. sane SVscBoaas rer so WES SSSier s\, Sos O55 Verne

—

‘ ant x =
Kgs VAAN AAS GY Cem

Zo Wes MMaMases MUG Sua oT HS Veen so “EWS SVARS, Oc

Nos Las Seed Wet Denk. Se OSfice SS Wit SHS hoes Vision ts

ach bss sa Series 16 Wes Ssh CSS VW SOW, Seam SE eatin Oy

COS aR ys Wes So cmas Sse\\Tin. 2S SV 86S LAN “SS

CDSVS CRN Eerv ee TE Caen Oak GSMS US SeEsv\oe win Swe

Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 19 of 48 PagelD 19

TRiA® DeESOnwetes CeOOe Whee, S> ENS eS WLS SOS VAS SNM
wi alamo. Sy ews SN Bee Oo: aS CS \WSRAN & Watt
C\ e225 @)

Sae\Siass LC St WARNER Te Gay enh SEM Os. Ve. gm Cireionee

> ZRASS See 2S Po Sha ti SO RS. Vee ss OH Le Sune OX

S\st. bs. Gime Ws Dette OFX OF Gio e@s oS wiherltin Wt Was

NA OVE OS em = Wens So Serve Aen wis G&S Su CaaS,

we a Seton sean Wes 3S. Ss = Das ees iy = eS Sa) wih 852,

SC gw 250 F= ot SSS OV SS Re, CO ADRS are Foti Sten cR

ok sticin eSSC abene DMOeLO wwe Rs Con SS Wh? S285 Ys Ss Snts

Sut
> s \QDOeeniaokwe2 Vicia ey C\muee )

ac SS ERX ¢ ow TRY dew A SRT SSS, §. 0-6-0 BE Dee Si 2s

We sass oe) & SSS sy Nev 2e as JF Wy £\\ Shi 2S hae Weleak os

Vet. Cw ew qaml,y Te Cov 25 Gol ems mas bey Qa SS eee

4
NWimile ent 9 2 sPanslel-6 is nis aS cle), Eos & Siam

——— §> ENy Ses POS SG SS Se Vow 5 OS FG VAS CS

loeS= Klos wes See Sic Com S& SERIO of% wh) LOn SC Wek

1
Vaelian? > ens hac SO See S so HAS Sisveresy cana

Os DVN Gis SS S\N SSW @ CiSONS GC -2, CS WO 2 St Serie ei

Secyive & sw kor wa Tie Sve ot Sach eg eucs. Cb -o, &.S:.)

xa & Weson> ome We S- SSN. SS Se SEEM SS SS CE CCAy where

Ries, Cts GSS 2 OSE Ao SY SS AeeSeNs CCE ASA ran ON 7 See Nr Ss AIS

{ie SIT SSG, SS TSS ORT ca 2, Se} Nes Coo Se as Sth Clan ce

SS suctcw een CAITWHEe OSReonwoSas Conse sh >= GLE AVWsS

2 QS \ Ss SS So WesSo Se BeRea\avse - @Meciwan iw

View Vik Cam se )

Case 2:25-cv-00065-JLB-KCD Document1i Filed 02/10/25 Page 20 of 48 PagelD 20

Peo een eee fc Ck VAC’ SSO DeS Sas Tee. AO Ley ars Sot Tee.
Hey cos eee CAWSEY Cem eta tas CLES Aw. Se Sve of

Glos Seow eo CSCS SITES ASSO AGES VS SO SOREN, Vs om
\y2. Se SS hoe } Sis ees SS S.C .¢-0-. ams bes oS, S—>

Voebiec ona 5 ¢ SS20055 se. oe ies oSSi che) eloSt<o eran)

4

—

hos \ - ~ — "a TyT~e

» + \
OA 2 SVeko OS Ky oswe on. Gut ioy's Gone es OAK e OA WROD

VAS Wee Ve VERet a OS s =! V5 ‘ a

C2y7eewOekeneaers Caste «whe CENT SOLS escamal inset a

4 x, oe \

7 7 - Ces es,

Gay ky Dec ie 2 Ceanet Gore 35 S55 Lee SAO 2 XS wi ZANTE,

Sy

—

a)

PLOWASES aD s in @ SVS SK SVE on a.nelS-G: SS) Tee

— —

Bes E \s S5. sy STW Seow SS Pe SOciww

Mo howe £5 Viable acs 2 Seas \e Ten Wes Oo Sh cyte
Lea SS CS Sy Woe Widos) Cee Qu WSS s
© SSS eee CA eS NV aes Qn “ST OT 8 S Bam SE = RKSoo2N NS

Mma ee, Venn oF WHS SAVERS OF Slotiiio ens] WAS Oana O*

pac ZDa— whic WS Woes Violen & BOS es So SOAS.

ys tes Sac 84 daris Coaxece

isc -c  wellses bh rouse Nevsinas woe) wei\oerth TS CoV eS,

SOA OrSAs VS SS CrrQyouS® ous “The 4 ef vsim eh Canc ah iy

ifs ten aE SRel -— ec CC. Sos we sy, TSE SSS \nmivvnss LLC
i

ic Ceres nl QA Cat 8 SCS ES SOQuTaact So® Seis,
Case 4:25-cv-00065-JLB-KCD Document 1 Filed 02/10/25 Page 21 of 48 PagelD 21

les VO OW OVS) Br Sok Woes OG. COSI SOAS

DEVS Oe TO Ke > EAS TIADOAVO GUT Sa Vt ND TE, 1 San S
——
oR We Syne, @& Sosa ow Soot Hee Oo OS OE. CS

O& wih On che. Mans VWat\oke& Soro 5 Se Tos\es wh

Naess Sao yes My A oN S2¢ Nw SS CO oN Ve OT

g 22 eonS ato V5 WN eS my 2 Se e* os Sen COON. CRE. SEN Sn

SeEsny CC® 3S | oawene SS Res QQ ws. ee, SARE Of SVasy don

Yor € A HBS SHS Kn ania) LAr SCaeaA oF

Y-& GOV Ou, S>\OR Oras. 1S SO SONS) 2a ase she Seis My

CA OS. Sho ech=at Ket —-¢-C.0-¥ Aw ROSE SS Oo

IWelSieas Wie. ao wie-el\snGale, TROON 25M Lo gy ieons

Ls SS\eneny, PROS ESS) OQ) SOS YRS wR VS | SGN

\aons Ss Ga crWeOvok obi\ Base DT, sO snes > CARVES SOESe

cawisv es SRO The Jeeves Ses Sate S&S FISWNS Soares WL
Sor» Of OS&y ce o& Weitn Se yioiaon@e. SOs woes 5s =

Seve & pa Wes GydocheSy Qy ans wrtgor SS caoceyrac

Ya Wes Se, SDoas) Yes MOS OV es? aay WA Gomes ee
2 c

i
£\ S88 eo. on 36D - CS SD N32 ACS ea Nowy hows Of OW

Ga: : ‘ : POV &!
Ave Vee CR BAIAST VSS KY ewan ny Bi CS SS CAcy_ OC

SSN ON SS “rine. CeGUaAves ans SOSk SR AES AGS oF SNSW

SAS C29 RRNS DPR ANSGoacs cowse Wee S CVS QS 2S essan Hr

ASSN ou, OMSYOSEL SABE SEA HE (ars & \rate\ Wi,
G\ope se )

(Seo \OY Lene ciinice’\ CS Gln ' ST eLE. Bs Sos sy

Sel S\\ STEN WSSOS NOS “5 ie we >} Vt 2AA SSW TSC DLE S My

SSVOVIASESs oS ES Sef SN 2a > 5s Tht (eae c¢\ MUG aN

Qt |e cVas , ©.t.G-¢€. Ys 8S Os as ov weld" OOS Lic

ISO Be 2\s Soren VSO OV S46 SS Vass Seas Gomes tS Qa’ SoS

lisa A . :
Noe ele] Qnwed S€£sOoon.5\ kh 2 ywkhee SER VS), BRST RO ISAAY

Row VOW aoe Came UTS’: Aan has & Coach & Gon

Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 22 of 48 PagelD 22

Ven we of Se lens o& Sian Sueve oS Slat idc Soe WO

SS Sern ah OSS ce oh wriaen She Snes Waelvemec se aoe Woe

So Sow 2 3 yo WEE Gyo OesSn Sy ans wttactn OF

COR SRV OXY GRY RieienQa SArtvr0 og Sten aes

we WEA TE AD, SAAS OS & KOSS we CI -Cc-—.S .\ Wine OS&&
: EXC Dao waests Ootw
2S SBe oy yoataw 2s oof\h io~ AM SOV oT Ze Ven ea La

SS Ssh SSC RS Ss SST SN SS “Te LOM. Sb SS SOD. SUR WIS
Of cvew;n wens FC BITS DSK Swe ovis sc ese THe

© TVRs Ones Ss Ses AmZos4 lou oeSu SN Sexe SEASON

CWel\ were (165,54 VE New Se )

Cad) Cc\vevce\ WyeESerersy, &-C-.0-€ +) w EM eae SF SLQ

haley mos Lb. SC Sms WY BM Daan, VN 2 GOV O84 SS Sy eins Svs bahay
S> \\

nore Voads yA vor CAS SKN “a ao.

SLMS sce so WW hs => Eis vay LE See. Se ee ag See NSE

Ss ate, mG SVOTIS Se Ges ESV Gere O8% OEKCE OK

a Mey Noes Vvis\exes aoe Woes Sa FOSS jo Weed

S$ vacc VSS BOW Sins ote oS DS Comet ancy. VA w Wey

V2s sOanS Vy, OS ov es2%.a Tre Comtt es Soe

SON SE = NS 2 See OSS STS YECe Vat ew © ae) Skee Soe

Sie. ea, ors (D-¢-S-s-) TRS & eCSendeMy NOs o~

SG SS St Fu TS ers CRI Wee BE crn > RSD oY

\OveaWecs — Lonfaks COON, UNECE CS Vr Qe SV ACO > ESc2S
TL Se CER SV Ss EN Sh COosavesrs a we Sore wesan ce os

SvoGie Scat CR VNR? COOSEMEP ass Caosis2 THe SN Seventy

SRS Soman WAS Sy, way SR AGVSAGTVARO CH Vwoenryww &

Vv) yy Cie SS a

Io > SOHO Cerrar ai Ga rrans £18 6 ai es ANE =o.
Pom Vee SOY ec Sst en aseeitaCy Sst Stive@e =< wit)

Pa Cis. he es CAV Co rac Varnes CC CANCE Syd =H2
SV8N2 o% syos SG Wi Sin Woes ALSET ySE TG

S Sys 2 mec Be Wis SDA AAS Mes SA Ss

SA Qe 2¢ BIC TLR WANG rSl mee yas Bane O& RAS.

ack Wey i steekeceds wiih =Hze @ TAT e ASE aCeaes We TENS.

Coys Owed Foy Tiel o* oS iVeSy Ta aTWhe Veoel mol\\
‘ S — —

isc g=s5 LS SERS eum rack? The sre kt Coomera) ny. (SA Ohss
S REN Wes SIT mS SDS > EN TRO AAT Cons 2a sft

Am 2 ren SR. TH SRVEWAGSES SESsest ae Se PEWAS Ws SS Ge,
IS SEATS CNSQe MR, BON TAS & SVT Oem ZN Gav DIS, AW =e PEA VO

i

Poet VS E\SVO S TS BQ sea As = Posy m SRG. io ox
74

-~

Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 23 of 48 PagelD 23

mi, ow ca
mA 2OGE TRO Vuryhize S>-> > Wok es SS oon She ease ath

\ es oom, —s \ i : i. eS
cress 1 GSS TAG) Seu. SGN Xo RAD, SO R\Ss Sts) SV 25 2S

SS

Se
Ql of cwrers Sire Sener ioS wh ece Wi SS CSA\en £5

x * —

“hie Cyd) GeO ees & Bon cory Lee ose lo aS oe suc,

jSAw

Dy : = ee SUnw 25 Sy f\ 24 & SE Sew

SLs cn eS is bt ee Sn of “SW SEC \SSan s

Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 24 of 48 PagelD 24

\WeeS & Sey WRe SVG ao Cav) CSc ies CES C Oat ald

CS.¢..6.8-) os Sm VscvlD oS WWE won 2S yon wiht

Tne CON eRe S OS W1O88 WRG aiSmanes win 282 “KW

Ren ys Ors Ve ws oiiewes ao LOeeRn Tay SV Gin

CmWUleOansengs &e KS ARRAS AD WAts aor scones

Re Wis acqooven ena wes Crier Za So Him wes

Nia Conv eis s+ >Re, Vest pecs WR e oS Sf waarhh

So TOS & Ty Se, SUS CSS Gas eS OSES TS TAKE

WSeymwo SAS BS Toe, S Doo 2 O DEVIBN SA Ow as

RM“ VO Es Q@ om Stove S ee nine 2t ant SHU See et

.SSRALSES SPCNAS BRON sla on

- 7 W ke Soci LEM. Cen SOO SS Zz We FT Os, SoH Vane

@¢c GC enSs Sok teed ys Oe aA. Sos His VED ee ih

Sros WAS COU TSHond ZaC,Os Bm we ony SELON BS

Sere ss vieiG ome Gwil Gore Ces? wsaa Zee Koc VIS

CSRS WSR TR 2 Se Of Siac\S a awd CO-6:5:5-5

Quire st SSeSacs hie Sew neiS SSS vcard bosingcs ‘

es=* CSshen ea ame rvsabivs deed COMA CN and Koos on

Coo Sst Sab eal\ SN Sams Ss SS. S>BArvoe ek PANSHOMK, 2S

—

Queen ti ecyw OF} ComnMess BE Compo R eta TRAV awk RVCAR ROWS

Secv ice, PEDVAS VO Sat TN DD Rc Saver a of THR Syssy So

Cas¢ p:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 25 of 48 PagelID 25

PRASSAS ss Cols bye een 1S: - - Damm S Silo fy PS ASA

PUSS SOAS wo COeSt Cave & SAN SAN WAVES risK\osace yvOoos
v

Ring coven end/olt Site S&S Tht SCTOmMS OS us SO EL Coy

k> 2xnsy BbeS PONS San Soe Vee® VWis\eryons BS SHA mene

bois AGL, Gnosies S9Y. ya Sis). whic. 8 Ses AS couy

Io cetecSon tS oy TSA LEAR GE saga swe CH: C5. 8.) [ws £\WPakin

18 SOS NI SSN cg DVO Naas CE oS & Th.

Py 2 Y> Pom Sis GSR SS CON VAL AA SAS Son WY SEAVACRS

CW-G SE 5 vs me Stan ADBINCM AHam winiOn Toe

S SNS ee es oS =F ¢ Asx SOAS SL SSS Cw Has», ARS,

COS2% es Soc) WAS Sos 4S see cas coy Te Seams i i

Seo WR? MANS STS SOR Gore ok Vee ENS mc t® Son SR eAS

ns oN 2S. mS SN ee 2S TR Meee 8 6 SSS COS aes Ws

Carrow SS TR ew cie O% SVANE Viainwren BK Cryyay SRE

[ray cerns SSNs 5 S\SVLS Sy Syn @se GesevS sak ope tessiCl,

SHEVA Cocos eS CS Good aad woe\ote coe.

Beil one CI Se ice BS eR Wn ss aod Slavs, Hon CVe wy,

S50. SoS Paes Week eSin dQ Bad Vistaiea LY

ise < al 2 os i. eak — ‘ \ ‘
JPv \o\ \S as, SNDSSAN 2 VAR Ss enu$S Soe Tee Ge UswW Coo ty

MEWS Seca ans Byer rSri VvP guts Vn enone at © 8 soy

Cae uae. <\Voarmear Sao kX rag 88 & 2628 & Webs Si@ Sen rs S\vou

i —- 4 3 ® 5 J =
Vem 26 Sys1oSF sem Susi tre h Sate e SAhS- :

PSC vu BsOria gases iy Qe Ope Ag Lb Lee UC revere 14 S90 }

HINWAS & Sivonen SBS Goyaclonce (Gall 4 Se)

BRATS st pe ey eves

SS mews) 1 San MS SSA SS WAS YL 2Oooes

PUSS. SHOE SE at B @ Ch srvan-weVing COTA wo

Case

p:25-cv-00065-JLB-KCD Document 1 Filed 02/10/25 Page 26 of 48 PagelD 26

Hosenmcess ©Q SRS AS S22] (SWS, DASes)

PMS he Soe Neos, FS Cr< Gorm CavSis Cov ey we Wess)

IreM 2 SEeet Soe oo rene Tb Rs So cement THe

Cvw\\ AAS Van Ds

S se ee SAY AOSV Poe GEss ‘<ex

Seyi = SVMs Sn SAYS VEO stre SKS Vike wiS@ now sun ade

Ww ce. cack.

These YP etVe tele, S22

Sma ev Sa. a

4. 2h eee Cin See Bee

Cm Sagi ne © Ove een CEN mD, CA pts oS CASON DCCs sions

<i> Waa Lye te TRADER s SDSVe\M, es “S.C. De. 6 x8. FS CS ons

qaxayva\) &S.2% Sieg Sos SN SAS BSE

eck Rae Nooe@
—

‘ a . ‘ -_ * —
Svs 2 Dah 3. > Wie revel SL OE Le Si oS _ SSO oa mo

AMS VO Qe cer Qus) Si Ee OsusVnoiDar Sis Sh Soo WA

JS evi 28s, = Vio, sys S SQe 2b oy & au “KE, Sia SVAN

am Can\\) cA ORNL h eee

CoeS2%.s22  SaeC¥ son ¥.SVASe

J

wesc wir OR SSS LOswate ounsvybstenct ot 28, Cols ey

es cs lan £2 one one CATS a ONS Pee aS, SS = ns. QNWSSss

ok ES WIS TT NS Ne -Cpemce ee SE AOS SVE CS AGE Gayyvee

1953 We = SE Vey van Fe

rie OS eases Wes oo: Say jt ave SS Ty messy eC Seo

2a Sia LV Soano-\ Ny tail a\ie= 4 Dossy. G TAS SO aoe UrvZ.2 SG

SSS, mt Sues Cee of SE ove b= ne C SRS, CRS

Mee SO oR PASSER TO SK KUT RR ete C A UTS? WZ Sas owss

Ce. 0 32 Zr es ZN nem? © Sos ence) ASS VON, SS GRO\NSo8) OS,

WOODS Ss AWC oem: - - CD Qs va Voedoi ves Chews >

Case b:25-cv-00065-JLB-KCD Document 1 Filed 02/10/25 Page 27 of 48 PagelD 27

TW ODESSA Bas SS SD SVL SS Wher S Ea nk QT

cs SYxzBW ar Roe ote 8S SS CRS See ene She TES EN eRe

NRA Sy eos Geos aoe ohss Be Dprat Geen CS aS Les SOS

= a ‘4 — —
Mio SC SsxsHao.\ Svedooen ess S\erosio Sos. SOS NSE Soe SS

Soe COSe We or Shed he Guibeo ina sit on 28 BO Shaws 9

: SS eat mies 2 ANA wi Si, SON FF @ SOS S. sos. “FS Sak sk Vous

SAS Ay, Sess S PSS SS Was 26 SS SNS rre OVW ters

Se AYO TO alteanis 22k SKIM SLY SST

WN ore cu, 2 yu wo SUMESSOedy Sos THe OG Cis Sep

SS = RE SBOE SY As £2S Sy

iene VSeRensonss Visler25 Sts45 ESS eos.) Seog gat

Svan els ya ELS SAIN STS 2 SVS. Ee Cavill Grom EMO

@ Vcws BQ a ve a SE Slee at Fe Rntmiog S&S Syn sS noo Bar

SD Sen Cres Ses Se Sot aaak 2Qosss ¢ s\n Sing, st) Set WZRe

Cory So enc® o& ssanGe- Whe Srac) Soe Gaul) Comorice Sas

Cemes Ses8e Qs @nsol es Seo Sy SASSs ans WTR SS

Cece? evoke oF Whese Poem vons Ptr TWh? © SF > NS

Is © Clssyen Sa $2 OSes Sod SHON Coe Ke SOR comes im

Sect hs wb tix, Stier eagwt oun @ DH Dy iS soaSotrouni On

— 29
Was S bp Zen COeOVEN 2S Ss vwwk\ ete om Soaks ce wrnbeS.s'

Min. & BOGS 2S H&ars Vissoaore & Gis S255 ,yonoe Qu Sco Shs

Teen Ges &e ENE COmme 2S THUS ces SE SEoQvos Cris EN 2h

IWpeceSote &S2aom worBAd sivas © BS Such rs eV)

ass BON 8 6 2 ave ee BT BIWeSt AMS Con hw S

Posh. 2% Gy (soot Te Siaoqeyse, GSyuarve <Vanwrves’ Qo ii

Case b:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 28 of 48 PagelD 28

OS wesacnees Sogo meares hea Posi Qs: isl ask & &

Cas Coe) 8 2c ees) VS YY ROS Sku SS coeKQ eos COURS

& Oc8 Werwan eS Mee voacko Soa Conseioa ty Ss

DEK 2 Ny Mp ROS, Say Was se 3 SAS

~

is Ser iety TSM TASS ws Sec\oe Nor Sh F 2.S Sin So

ious Sinem O53, BE Comoe esoie Ses 1s 9 S22. So sVye SAR SRS

mi Soe ee CdOi*nr2oeB® aR svask& SQSM shes Sin oea\

Oro. N@ Swe oe A\ TEM EEE OSC eG oes? BA Vas?

R Pew. CR POn Same vse Sf 5 @& CSS Soe Less engss

Raw So) cme Se SOD oem Ove am S2c oes Rw

H™ 9 nen SO ee ee, SS NR Ket pen ces or Hes HLS

Cog Si CN TS Von CAN Swe.) SNASS Cm 2 oe eS

Min? SES Onds ens. SVALR BS EVets. dew, wnclhwt mS L>S

Aye SO, Se SSESVEC A SS ATES OY

oe oS Poet Sas

Tver 8O AE Sey EVR Se RAS RS, Ze, © aes eee ny DS

oll = Goal
ODLLSAL CON Sen GS N\Snem LA ES

SOSVit. €s oe Ne SSHRC e

Cas20. 3% Sa) = 2 PekKens Airs anes coontec. 2

PLS WS Sow Rw Sn — > 2 Vac ic Sos Leo, Sa eS

Ww 2 te ssoy ln BC CSV eS “ So\Way eos Se

WSs OES ice Wes

WADVSBABE ST o § « sspomm\ Tar Qen ese sTAns SS as oO

COony, eee THe, We OS SN SSG BAT Seiore coe

S,ayuGeey Buin SS Ces@ wy sees :

SPSyoaw THe
a

Mv et =D WA eae & LS om, PT S19 SQ 2s We 277 2 AS Si,
*,

DOP BAe oon @arroenZes Viorvarrieoas

WA SAN S&S AR
et

Fas Wehr eQ. GE BAQsis
*

Case b:25-cv-00065-JLB-KCD Document 1 Filed 02/10/25 Page 29 of 48 PagelD 29

Tene sver® Soe Slee .ionw Wes SS

WA) GAN 2. Ty nS,

Pv oct © Bt Ss KN VS

Sy aM wa Ween Wes Bar's Bw

VV. Les Sad ah Sime So em SRS. SUNS S

WS NV S2t ovens

BSAs  uwcanted, Sie SA. say edixsiand3 25.11 (w

S\e SAN Cacti)" ‘* Outs» aes = =

=

SAss. sean Wwe <

JOR civil) SCacenvf§es5 Brvies e

‘i ‘ —
VeCo) A Sees LAS, & oN

We oeo NR & Ciceien = Vee’

Win 2 R2S ea. S41 = os \

C\ ey eo COVear ge cles, CO EES

C\a.ver SBS TT NAS

Poss. C\c le eNOS. SNR OC Ss Ces * @ S&S shcxu om ~

CD SHNHslrn sions Pl\enrt siar@en@ay 2 &

ZA. SOV Ge Se

Sm OS Sy Sie en TT ae TS yh me SDE

SS. Soa NN eS,

Wo Cer\.eK Soo ALroSosB £96 Su Sais 25 Sox *¥ Ke

SRVRE TO Why Own Thee

S\C_aeet  S @Rwo Mim S Qs SS

Wee S eVh exe SLR bs pORBan am Th Cn wine te SS eles

; Rx by eee , tee a. _— \
VO ASA >) GSenG@\e-s¢ Sy SSS S SRaTeae VS Nan Gi Ved MOwn8

DAES oe bove Go hSNS eh SS QS ay GUS SY Ro VS

DPirABr oo. Cor: OAS ASS TSS CaN Cora Va
Yo

SU ox 22 Wee Ve Coe Secon Se

mo. sa eves eR

O-PS ssa F o SS C, Sra OVA, Wo sons, mt SD Chav $2
oA Se SIVAN Gee 4 =

—w in & Tl 2 Seen Soe Sis \ te 25 &

Winslet ees Sa SO vy V&

SoP6 moe CNW ORF eee Gmomce vn) & Se AS

WS SRE Os

Tn 2 Fa Bs" @ Vi Dy Benn V 20 bo) ene ck

Ya WE SS SN yo SS SS ee os enbuisi VX wes et

m ben CULV SSE VesreaSears An Sloe:

~ es @

oY ; = 23 : aoe = 7
PAGrso dt. Tr d Ste sien ess es avo tes wis Wz eas

Case :25-cv-00065-JLB-KCD Document1_ Filed 02/10/25 Page 30 of 48 PageID 30

= = eal ante
San iol cS ear 8-8 wh Cone Sise = S& Ne OY SSNS

Less a @scS GSS onion > sO Oooo SS SP oO 8} Wns.

~ ‘ S 2
WY @ wee 8 isu ~SQAS WAL Ze Vo eA¥E-s Sone Commer Ste

Soy PASO KA Te CSU NS SUAS Loe DoF SA WeS S. “SNS

Beh 2 ae OSS ml sve te2§ & WV 2Ss seen aoe Sensei\rt_g

IS = wees Ww Wick Cire CSS yo Sy ZO ac eHow Tre

I> PNW oe @S z= zTe®, Tie oro ees PL SNA b S85 5 Via wees SAVES

SS _aw eve mm Se S$ Si 2 C A> Elec eeuiseds

Nas SS is 2

Po Cc haccs Ta wee Vise Sa SNSSE Brwe@ Con Ac

HOere Gor st kos) LOSS A OS 1S ¥S COS vy. Ss KeNS

Ves, GaP, 2 5 (atiicle K s@ctioe IR Of We S\ sey s o

CO Qss VAD Snes VAN SS wen SE Oo V1 Se SOs TASey Teri. se 8
\

Heh o @net ea \ Ven Sof Se yanaias svinr SOS SS TWA
= So SJ

SARA OES RO oy Ja cee eS tk ER Sa oo, ot

+

PK OS SS EVOE OY Dah ania Au:

hI? Wek eoboQunis BZOVIV ES = Wine GS MVAr.oo VS Oe VAs

Ve wise TV OP eee BR WOE SS TZN 34 Zee rot ScCn eet

25\s bls Oe TW SAO eos Wek YS ACY

SESE CA2 = \ b The SELES Cee yess yen Ceslote Way

PLQUES GARRY BSAA, ow CAAA V Tea DAN WPA

bee 5 og SenGuns Soy NES kee CES IRR coy SNE, Sis 4 Saree,

MCOrVUSY Corn ee Oss FOSS £8. SES a yen eo Svan ONY

Scssis eves) RO Qos SSN QS \uA § @8Sn AWS Soli ye

x LSS YS Sn = 26 wk VS a 5 FSS KSA ERO Ba THY

Cas¢

Vv

E

2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 31 of 48 PagelD 31

Vv Le T ON USN, Sms cats SS CAC Werdian o% ALHVENS pen? Ww

Weds ie Gaen@er Qos Ghor@ mane \ locas se)

J Qe EOvst, ons Se {evens 5 SRag ua rmr2e< :

L282 BES On sess SOsereher 2S Rchks wheat S. VL RaoSonew\2  <sVpr7r

i 1 = ' =e —~_
Pose cyed NOt Re SS ee SONS Cee SA EL CSE UNS HS ‘von 2

HY 2 SoC i & Vieng & —s woes “S88 Sie Qn yy ToS Sve sk

—_ = aN ees a :
Aus 5S UB & SOO SA TRO Sh Syke bert As

i. 2 So S5en hes SO i288 SS SO SH > Lew 1 en G St

Pirscn\ 2 cen Cie P\S-as, Sog  CrcomS eV day $2 2 &*& San SSS

i a oes ey \ \ = i — —« =
Ce fh eo SS OE She S\SSyvee Cravi\ Gores. ee Sass, CEG OS...

ya Des eoh ors = silt Q.. Fey Noo VE re SSN Se TT 2 ore 8 AS

i SLSS5 ec Sot Ves SOS Win Cn 1h Sios 6s oe) Tin 288-6

4 CS OSS tS @ons Ve SQ 2. OS SS OSCCSss SSG ea

ADS SN CS n¢ = SLs SSsorsnet SMO Set Ss 1S Ceres &

PSS SS cases inet? ooatienhen Vs cet ce ts

Pre Oc k ead ais >= OST cose apoio ols koa

Sos TS Cli Gers Thee VAcho ae soSeGVs

rt 2 oe Oo Ve Os
c y

Wencihnen ek KS sts 3 cok Sy Pon!e|nnm SS SBS DR BSSOOomMeSorn

oo tes WOR oe Sid @ THs CGArsens cy = SS Bc AR

iy Wn SS ——-

Troe © 25 2anaeGss DWE Soae-09 Gah De - DOs. s-5 Sa \2e
Hs \

Hr Sts 250 ES Sw 2, OVaosie ond of&emss ly Tose,
Cas@ 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 32 of 48 PagelD 32

.

= =

C\ia\cs’ sip SS qn Soe ay Sebi sas mas:

SKAOoteVa SUS © & SR Cees Qay AS Cys. SX. 2 oor Os, Ss SRS 2S
; S

PRR2 Salas =. OMS BOS CV ei cad So tre Qavs ok Whe Cred
¥

——— z ‘ * = ~\% — o ‘ Ne ade
Sims We Coens vy. ain Shint Ge So. eMesss SS RSS,

lene C\Sic 1S Des scS Cam Cetas SOON Sts SS, sma om @
¥

Ions oe oO). 2 Wt nS Snoes SS, DS PS) ST ASS

#

Tae OVs2ngocqe KeWNPo aS SLAVS S& oo @ WAY s3.60 % Sy

i\s> oon 2 CSA Yee Beth 3S 2. Neos SESS sea Ir’ SS Qo = io.

oo Z | : — =~ aoc= ~~ Q Q, s<
Om SEX vsacs Sle.sess.'e|S SOP ous GW Ss (Os OS Acs BS

: ie « ; 5 - 9 —
Pes yootSov @ St S&S eles VS Sesh BY Seem, L2Ssyy

cso To Os oO Goose Sa SES Cle viemSa& al Soe BOS ASS SS LS co 5,

Ty nei = Os S\n “Shee SSR PA GH ISSO FS OSB S

Z

loassehe ces as Orem ess An Sexy OES Ons Co NS Oe Bra cn
\

PAS SALT es Ss SS YT Sant Re =X @, cued SVAN S

Sem Cans ile vast

sek ou 3 3 ae = Q
V8, Tote neocons SS ie > Ph Ot Sas oqo §y SUI > ; Tes

you SS Leen OO She SA YS AS SES SHO Shek Yess S CO. Sess
. T <7 SS N

: +

. so -
In CVVOR\ =o 6. SEPECASIS SOecK SS BWW ooo CON Toe

5 % \ “=, “=
—— = C 7 = ‘ > <a * ff > - es ‘ C¢ — & D =
Vc, 2S Soe Li DS. co, ol Sy &. Sys sei. ee : ~~ =toi> VQ

f

~~ . — se _—— ss hi aheon! co ~<
Py 2k = Sve Px OVVs AGS “NaS Sash 4 leh SVS\S OS

Sw dy = wee tes SPs QV ane ee @ WH CSrohSA An a
hy tr .

z. — ¢ ee ~ Oo ROO . S +o =
Lesa ca & a(S SS > yo SS SN Yah e Ao, Shs S > S

“ ‘,
Toons CC RSSOO Ie SSHsMunrys —~ Ta ee cute & BC
r VN

Pa S Arce oS

Seo wt NOP TO a > BAS SVS TSA PNA VO oO SSJoa N VS NOLS S52} :

\

Ss.

t ]
sy ye) YS  AMAN Y SS tO aS SS "Di xX SS oT = Ss SRST v Wy:

oC \ VE
Tag SNIP Vo ON Ske SYST S SA SS RNY oe yo VOW SS

STL SS WS TSS PIQS YS SAL VT VSL sy LEAT By 5

4 \
SS ORES STIS HS SL PISS EST SSS NIST STI YS

t 4
Sh STR ns STD + \ Sy WAS") =a \) Wo cy ~as\S Sk SNS Sy SINS

CN ;
SISTERS 6 SF WSPS AS Way WPA ye SoS TOD TS SUS s SH

ch. . 4
asa Se > ai > DSA Sse = se =? «ay > ™ 2‘ SPS > eS SS? ‘oe — NI

_*

TQS OS SM SY SY SS SS

CS
SSNS TS SSN FS VSS SSE SSS SY OLE

\
SRL AG VSS IFS SH ONS SS STS SRS SS OW

> i
= SARS mM QS“ TS SOULS SS OAL WAS BS SS IS Saas

» % \ ‘
yx SWS USD NWS SS CSS FS TE Wo SV SAE SS SION

t ;
SRV QQ Sy TS ARN WSS ASehS “sy = OS) YS ST

o :
SGASUSA Ne Soho See SS SSBVIMIBH AQ ssn os SSK

3
VPUSREAYS SS DAL) WSL AOR, ST Woes ssw why =F

“S75 SS STSUT SOS DTS RSS SS SOTA SS SLRS RS

~~ . ‘ co 4
RIS) SL VSS eS FSS WSs SSS SS WSs SSS

\ { ‘
STSMAL SSO Vw NESSUS SLRS TeSys RHSW ss R s+

SESS TYE ES SST SSIS DISS S AIMS SSE SS]!

SQ SS FSS SS SS SFL ANS PSS eS eS

CS > >
WISH SSSUS | WIM) SUS PSY SS NSS AAS TH SSN va af

X
SHWSISA FSS VIAT AH HS WS SHSNIF FS SSS S|

= \
ST SOUT S\ Ge AWS ST LHF IKSY LISS SVULYS SISOyps f

™~ !
FSASVSIT OAL STS IMI SSY VSL SUR TI SVS TST IAS TSS 5

SFT FW poey WITS VS WIss WGI TN BMS se FT FT oN

Cast

2:25-cv-00065-JLB-KCD Document 1

tl,

Filed 02/10/25 Page 34 of 48 PagelID 34

SS an Se : Ns
Pyne & eat Ae VOOR SK SCSI eS Sh = oO ACES) Tene 5

K SNVS Ova ss

\ — =e =. ae = — x“
= SO Soni Ss Wa WSs eS ence wisn Shs

He @ovi vy ese o%

We Owen Ss SSM, Stas Vy 25

Ty he Q SS 2 & SS Oy Se Bes tr <A g >

S=\ at \ > vA TW SAN aS, as

F c c oO Se
IMOSenG.i Ss. Whe BHC E
—

roe oy AAO © Pol arA SOs
—S

a > b se
Cymer. 8S SHES - SVEAS SASK Qu

re, OSS Sen Oe Gen in

hes Sie A Se SRY Ce, Se ee eA OS (Sete SS nb Iie

DZS Va hoes QS CSTs, CS PRSViS Bb WN 2\iPeo no 2S WS

Nests os Vio Soo
—

ye SWE Sain VECDY SS S$ DAVIS x, Dw TEs

nt enti ih aic elle Sees is
te SS oo hes Soyer SEAS ST I 8 OS Ss WAOY S

« = ~_=—= - z fot a -* </>
Tus CS ves Geom” POS BOSSES V2. SS SGVE 1S. ASS wwecmlas

ox ¢

sas Cems Cy Sos

, = oa "sw ard
Loe = DAS EM OO Se lL MY RSENS OAS
v i °

We SeSensocks Sys? GSS Si\eo.=

7

SP 1S J OS LAS
™ —

i : cc o —— i ; . a eng. eS

JS C05 1 tee OS 6 2. Ss Beit 2h. >< med &.\ Sas

oe,

a= ~— ~ 6 —— ‘ oa —— E ei View Ox * Ss,
Soy. SVE SVwocoaeys Swe S Ses pools mS Sin Soe Se tS
-

Ss eRS\ co Cy. 6. &+S Set DH Seonsare

2S EK Avy Set weWSonain SS eucs Seeks 5 > Si ¢

ot 2 re : >
eS D>. Aoon Sos 5 > Slice

Semen SA AS Sk oe SY Ur rSPopssb' & CVS
J

— — a. t e — oO
bom on ee SAAS  COenseyrntobe Ss YmSsaiss Peta c wre Be., Carpouor

HS O-—e Sen, Ce. 2a Ce sis.a% & ZWHe SSacrhs & smGiyeents)

mS eS CORBY GS Ves Hiei 5

WARM WITS CA Ses o Sms
‘

—T

Lo +>

WA CALLS LoD, LAS.
v

Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 35 of 48 PagelD 35

im ane crves . SNe oS AWS SM DMen@i ond SA ® Osa FS Sss'.
‘ ~~

—

{SeRAS. STS us “SW 2 DS Moai co Orne > = Cy ASSN Sen ees

‘ . — ~— ES 2k \-~
1S ao WAS SOtyi1Ces nS 15:8 DeRieS CNS. cs = “ > wn @

AS eS enw oeoks Go COEMS RSVPs SH Sv18 VS wi CWS awn

best ous Wey kee LLG SoS e SNS ss Recovers
# nell

—

~ *

— > = ~ — Co m c 5
PSO OO” aS 1s OS SSEr 2c ss FeSreren'  S3 2S Te SARE oS“

‘ co Seng, ER SiGe Keane
=o. os. SSersVosrSe oS SrSh10¢ Yoh Es Ss Cs. >).

Cases to GSA sa ehes Sik PALSY Ss Zo CORCCINOG. REV SSS,
* 3 SS

iW? eye \2 OS SVSS58 O&O. oe 2 TH 8 Mess S SS SYNE NS sa Ts @ ~

oo ec 8 SE AN Sh CN, SoS Assi SVAN ack SS Ss Tel

am + o { - = — c~ «we &~ 2 4 2 & et \ %
Ise SO EN SS OO OS Sy >So eV Ss Dt RSs Me SS >

; ces TN 2 —* > EN Ow Ck
toss wo SS SENS! ADE on a >to 22's es Sy SiS 5 moO,

=

Tate SF S RSS VS RS Woas wf. roa shy Rural VUOocs SYA, CAR GON

cas a _ ae &
Pousn © & We Sz \\vnate-S SS SAG Tes CAC TE ASAR. SG on

Poet © envacws Coe Smee yo WIR OR SOS Ri ew SN VERE

co

Je ms EET POU SS Seon Oe PEs hh TPs moe > & “TD
r X

; i oe bee PL en C
lis oc ac wane as Se Sy SYS LEsuVY is) Tn? CRT RR EW Ce

uf

m* St Tsvone LbkeTst My Sean S51) 15 \ as. Law con) \ aes
‘ *

Pre BIT e OS The ® SOSEsrG sa Gr texts > woot On Oy Ss
~~

=
y

SO S ay St SS BY SES Sy PSs Tse A am 14

s
%

TQ D2 Oe Cems a S\VAAR a5 = \sas i. Cen ry GAAS Sac S, VS.

: = Se cee er ees sa es mu == t
SPSS Ro Th& SR 816 2 Sh SA SN So esen\ so 2

. ~— se ~o.r— - op Nee P of ee
__ fic. so s=8_ > TES: Sere West 2y=s Wwe 2 RSS Lon Zt 5S

Tom \aS ea eo & Sten VV XS OS UNOCE me on & “She SS ei CYS. ©:

2 = —~% 5 —+~ 2,2 MeV 1 oy B&O
SS ys. Tek en®eacss Tet Coat trsra so ASS SV LS SS

Hy 2 wes ese esos WelSrass Ll Cy aos WANS Oe NS Say Sy,
— N ‘
v

Case} 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 36 of 48 PagelD 36

- = = eas —~ ¢e — 2 = 7 Lec.
TS OW oces, Sos VSS. TMESEVOE bye Cs ere A ESS No Sa. SASS

a ‘ _— = € \ . 5 — ~ = ie
se os Ke wrt Se Gio e sO ow Wy oA Core Kosa Waly

Joma & VASO SACS OS oe s38 Ceut Sn | SS Vrs a

: VA >) SADT mow’, Cin Ce VS ee? & “Tre SP <¢ ~2yG saci SnanGS )

SL aie —~_, a —~—
JoS caso edb Ge Sos yw eS OY PN SOS Fo OYba GS

Tine HE eonde-siss Srvnss SS SISK, S Se, seorwsd AS ess

= So 01 2 .t WS OS S,.sS] oF SY ssa SS We Vst ad SOS
ad

=

>

oS re

~ Se Kem. See, ARVO Shh TS DW 2oae Acme G =
\ .

Se ie :
‘ c . ~ +7 Fe ) co = oo > ~< QO
ACOk*w ANS Se Soe sees NYS S2oCN = Syed ys Sy &

oe ~, se - = — a — = Ss ¢ x 7 ?
-c -S.~S-) syne, DOSS OmsoSBrs SoS Com BST VS SS SV Ao &s

—_— S

Iw 2 OBA Sl Gus Norerc ms Lb. © S28 3S nt BNA Se ee NEC SN REM
ay ‘ -

Ie oj Ju vees Spe es SSE & nes Gare re VES US OB

i ; —— —({— ~ = a nn OS
[ Laas oS oS DAA v Ns LAA oS SO Se SB Ve, om ch

Sse Sass Wele Ay BST See Coy) Capes ae BAS Soe
I : o
- ‘ . c ‘—  —— * c — , > cae al —
Mae CC NR AN ee oes AS A OOS, ee Yor) 2c Sans ams S
= N J
POW Sl Tee crc) cial @ Bae SHO vite CusioreS Sn
~— .
we : us =e i ~~ SV Qo
Sayi ces 2 ook SiS = > © Cw vss STN, SLC RY te Dd re hr
x : 7 cw ‘ * y
=3 =a > s Lk Ys 5
V ASAT SVS, Se OS BA Yo SETS SS NW NCGS 5 en Coe 5 0 AY SRVNVACSS
_ ‘ a ss
Re oY ce SEL WW AAA Se SS co 2 Tei ea ATS SS

OSS S..688 Soy po Sea) Mea. Wee see 8 Oe STS

. ‘ at ~~ > ig ¢ »c
Od. Camere Vet Si, Om), 8x LE GAS C~t & Sf 2c

aos wee — i sage oO = oo Ve
MmbGeat Wo ples - > [woe oe ORS OS ENS OS ENS

Casé

2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 37 of 48 PagelD 37

Iu e S$ eee sed alls BeWeNRS Zwsee TIC oeim ean OVS
J

CoS EN ss Shee ee nS APCS S&S Ss Se nos TNS

Peek Vneoa.nas 2 C SAS oH S ERC en ectRiS ss Cr.18 SGay(s)

V

DK cars CSGALTN Bo 1S SAS By. APR Oo Shs CASES

ey VAs

see ex we ste ay ;
Me ‘Re BWVWKQrkOGis. SIWAVS SH £\S0 2 on, oOo Hon 5
* —>

as Bre eS? THe SESSLER OX SSS OOM. Soo BS SS Sno Does tS

Ss. <5 \ 2 xs w+

Vo SNR oto Sis Whee DSS eS ion San PK Cw iSO mem
4

, . - > ¢ c f * > A
amor “Kore. es SOSVACeG-s Soa tas [=f ,c@ Cece ~S s+) Ww KR.

= ¢ <= &
‘.

SSS Sod OSS Sees CaS eh 8 oS Gk oy > BS NA boos WN

TRUSSO WMoelmsana Lik .-c ¢ o& weW oak Secs torn SDV yes
7 t 35 ‘ }

Pred VS OSS oR hy cs Ca bese s WT OTs Ty Sh 253

Pew wh B SHR Sys’ 2h Suny, ts Cte ko’ Am yi S Sop iy Oss

{> BIOS (aT ASS SS rsemgye ce 2a QAS&S S$Oh oo ive)

] « - —
HS SiN Se SS SO Ns a Se SAS lal mifia sg of Cermehems

is cy SSS ec nh OS Heh SS PPS ese FraSyvs oF

. — —— “ - " “ e t €
nn Sel Oe SUS - OS SH CO .€ + Gece} « 8 20 alot
x : Re ‘ *

Pye SeSeySsC apne myccy BY en SC moi CN ANTS As

eves Oat 2 oT ey eR Gert WOON So ants
y , x ~

,

Hin 2 DEKE AADTS. SIV 2 Of ioc dau, AQAA OS TES ages

ye ss yo.2 S45 SENSE Wl mesor Care Oswom2oS WSsSsy

_ HIER Ve ESTAS hy OMS —S nd Aeon Se As eS Cpr ldhs go Qos

Kee ee 3 2S SCENES SZ Ss SAIC ES CS - C-§ shes a

Ipc S codes Qod CASTS CES SESE SEO Wi Biers

HESS <> & o> \Ssim Sy LEG ames Wel oQeesh Fecay —
Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 38 of 48 PagelD 38

ee on 2s . a2 SN

WN a

Caer SRS TINS WES SARS waieer Of". Ra wots o%

DaSl Coen is CORICes. + Cncosta gs THe

Sa 2S.c oerhe Glsy oS ers Cn bw Sw nas

—_—

Ws BTS CNN WD eos & \oy yA

& aS SKeEsVe Be Toe Ca wt) so. om. Sh W{liUce ewan
Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 39 of 48 PagelD 39

Wen eS Re Un eS RES SIGS OF @ OES Li 8.

CE SS HAS RSLS Sy qe SAE 2S Qe yey OWN Wins

\
y x

SeZs Con T 2QsS8\ y BA et AXES CS yee Aan) VR

okt TR osc e-c woe ais a OV se aenes SS Visrterec

— \

Tl yet ket 2 win = QUE WA

a \rke 2ou

Tht BES @nsestis ane Cac c¥ Co CLSEV ses pees

CeTr oe aa ee she wSoasSub esr oe". Deals Soro 5

Se Chae Fo oe. low, Se qi Wore sf S @easia lize dS

_SvR\2. THe Sy Se A S SE Ss aS Se ata sag

‘ sag ’ = i if aie
eew met &\ al ANT ee CT VSN ASCCOHeEKCS Ceme@aVar

ss Sih vee y iARS ANI Sine eae Oe & 2Eey Poasscs

S6& sos Thin sae C8 S CSN ty Fs PL SSocw woe SS ext

Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 40 of 48 PagelD 40

in WAL CHS acs SOB Caeciewt reb oCowistf was

qj Woe 2A SAAS ESE Qe ess eeste seo ce pods ateeeisn

Woes Ee, OU St Zoe's SVE “Sl 2 SRO arse

eX SBTOeceis anes Sine CVA SN Sen cs She

\m UK Ge anny? Dict SL CeHye ss Cio Mens

So kKXOCTN s Srek Velen SW Blo Qy To Svusge

Mp2 Ceaa rave Sf om DAN al G@oRso\

CT 2\osvan Sas OS SCR SK ANSEL ER Rye Be

oc = SATRMES <= JAE ISS a Sey Cao Chusian oS

AE. C. ae te RBA BWA Ss as Sotn DO ZORWK & SY Sino a Sy

: S>\° 1 +S sy SES DIS M4 Cenc etprw 2s

wy SR 256 Wn Pn oe We OS 01 Sus mA AS:

oes aL avuSyn2ss’2 An BV OF Arslowait ui Pot Seti ds
Y

>

Cx G&sSivery SReyaQjr? ClisiC aL S&Gvi eau & 2 Aisas ©

yw Atasatbias, SAgGvVAnSRcCH ] FS Obi ZsA~ ex mbm

{ ~ - ‘ es —
~ * ' RO wet&s ea ®BariA\ Wei © cw) BOvVe yr

Wihn@at ©usis be of cos 2

The BK Gadsmmnrcs Qnd Caavitoahki to Hiss 4s

Was Coca SLES Thre Wtooy kul mc af, easyust

* = * 7 = oa £ ‘
BAT racer Sosy we’ EAS spSOUT Vg SH = CLMMPBA

Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 41 of 48 PagelD 41

ON Ss AVY DW que sw BBS Sad AADAYS Vane &.

Se we SSi ina The STs OS Sy uti iba, ood

SV eens SO scm SAY
SF \

SaT AR @t FT ByoeArsnsais oe wie Thy 2 S| Sh Hae Le

Vs Gay Ca SAR SC ST Common SOO SABA 2S

SN ON 2 Sh Si SC SeSVR. SON CR WT ee ei oa

—

>

Ye & @\NSCEE AS CaS tN. SPSS WK OS ee OS Oe

SS vaweeti De S wos ee Sew STA EA AN

CeO Ol mene G we TENS sx oss\ Sia tS th - 1S

SS OTD SiO Gants Nas BSESOEGISND VSN SS

sek Ah hs RUS wees, bili Wis cobs & Whed

Couty SQ ona THe o> BN Gas VBECsy OS Tres?

‘rk a WAN ORY @ So is, Gee om ths Sok / st

SKE SOUS,

ARS sii cr, TNs Th ® Oo @VsirisaklSs SoS iran

\

ys Sey BN © Ves Lon 2 ay Seeds SeaSuancrsrsv 2 Ceve*s&

Son STA 2S Sine R * Wars SISSY Ww St Whe S

Pe Soans , BLS Ge STAN SS Lm SSA SvuARvss

fi eG Bev 26 SS Ve Sime © S wiwh @F Sav Vn S

e2Reomr% Sao Se Powe & Tint Soin 2 SVS
5 SS

Case

25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 42 of 48 PagelD 42

OC sie2s WKS SV On SWS Ln oce st hb SCS

P&S at WUSor SV RSW SOY SAASSs SS Se
ISX Yo ss VS DAM Sw ASS Soa wot: & = C Sein Ah
SN <2. Sw (WSS ae ees 4.6 SVS @ Owmne > 4)

i
jG: Cceem alsin se. & SlaQas- StwAare

SS % => Da ek VN : i s Tes. “SS > -2 patios

Qe
WA raion ta assans. WOR: GS: Swe TK-€ SsteiadS

he Wolbieg as eu ti 5 sk Wea civ & 2s Kee He

PSC 3H Fe ee « SS | Mont, (OS Cpsar S2Atvraces)

Le Py co vs Sib s\SASSL ES: WRN OSS
s

Cc e ‘ Vi yy Sei : s VTw2e Grv1ss id CAWALL i

Co sare is sa tom Ceonyet s.-s S- SLAVS SVWVyA Gs

i mie pk ne sr es eS asta ee
W CSRS eS nn C Se Se CS WARS OR SNA SS

S\ss va es ash THE Des Mre eG aS Cie vST ew

{toss Sores AW S SEG Ss CWs.G.:8 fye haere Ge

ited Team AT BA amGs V2, nals SCs End ams

BxA Covdse aon ceasete Te S@qhrve TWe

Set eats SF Ws Syt SRsless Mises SO Tint

Is vaysm xo 2 S8e% Sore Arhairaty BCLSises

EWSed Ae BLK@ nie. Sis Vos StF \ov Lelie som

a <tr? Sime aad ts we i

Case 2:25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 43 of 48 PagelD 43

SECs oy 774. SSI, DZD) WOOO (20 - po 7eE. Shi

ah Ge \o& : Visisos (sig

am WE oni Ts Seci an Jee. aGs) weaves sk

WeOVSS.2 isn SAAN OY

Cems Soiiv & DAD) ~Syeac 2 US temo oo0 1S Sour
So hes =o) Si aca me meses (Ase PA sis) SS

Sle Se SA Cosy NA SAAS se sTyad’ Ca) eSSer Bs

Cen Take St ~ Selita TR. Se Ces 38 € :

SVai wi 6S Go.o34 Cbs. se)) VAS UR eos ohn eee eso lVR

ASN. K¥ MA MWe Siarisa SEES Comma sion: A: 4
SEG. \= SS The Srv9ossd a. SIMS caostsviireas 1 hess 2h

SQM Soe Si Ss eae CS

SSAsio Su Sse ay SS F828 8s =. S Posen Sot caval

Coeecoidseo 2 we? CEVSst ae

cq 35

Sawiss. Cpa 4 ed oeven D>,

fa oD yh @LSVs Qe wi PWS SSCsiesy SAys ans

Soo NisleSios aS se Corn SO » 2T. ah. v,

<¥a CVSS A. WR Blom - Un BNA ES SB VaWsu :

Case 2/25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 44 of 48 PagelD 44

—,

S\ye mls sea Zim .ears TWO DhHe Sa Sissy

Lxaven'

tS Ne tla ea SN Mwy 28 5 Dive Sees We Case wAS Guede

I pe eS eu ae a Cle ennes es st ec A s
i <

hace, SN

ANS Sinifiacga => 3S AAS As SRS TNS AA VAS AVS

NewS VAs

AN NS sh Ne Ses ee mh alice 2553 3 > tS SC & oy Se NO Jo)

a4 FAi2Sion Sah, Ams ELOY SS Woisina Fat Chiqical —_

— ~ o
— es . <TC ~— ot

SAS as Gly yl Cacnteat han 2.sn 6 SGA et Slt aS ATVI

OxrA senses hay OC ty Tes CVn BoSKeorn Voy

SN 2S RLS 3 Zk,

Sc 2a cn Wek SQSUTERSE AK vaS dy WAS The

Beer wesian Sh Sra Los Ting (2SEONS Bary,

c\iale< See TAVER, SIAL Xb

ee

TS -e kg es ras ‘
Bitch 5 daar en A acne

ey Sto SS Sue Qa" Vass soe.

x Wastes seme ’ z EB 5 ~ 7
K vows ASAIN SOs inh 25 Vasey GSH SP saga, S Soe ss
Case 2

25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 45 of 48 PagelD 45

TSS ea SS vet thee & SASS Tn 4 2S Sw Sy 3S Ss

——— — B foie . ‘ ae i
S Cire wr Sa® —\ Ss Son BAS CS Ure BASS tN Sy

Swe Se AS ae Sa Se A SAS TE Ie
\

SRSVACES Soe / al ayy t Vike Censaitsc4 Sa Seaces Sy

S532 oq SS = Ges

SVAY Peas 2 Sv Soc

S 2 SyYpis. si 2 Sarees SeSuis Sats tecares >oaalas

ive Slasates Sy OVis One 2 Boat WV era, wmitnecy

TV See 2S A SST ADA ALS swlasm by Oo Tick Ek aes Ss)

C\y Sane Wires: Sal es SMa OeNono Ces. wS55 2 onNinss ch) gS

2S _roS2ven STOO, SS sh sw ocsscisiolisy silos

oi AS Ae, Carmo tS C2, ave choo eas, SAS

Case 2'25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 46 of 48 PagelD 46

BAR SUAS oS Bi etiae- SWS YH Ore Set Ce Rn

PR Ase os eo Bw Van]e DS LiSK STwrow Hos FesonRrR
Yo Dnt Lepiat STiew Abas? sab_ S@ahivy Maga

a5 Marea hes SEATS GAS eke CX AS a's RNG

SA SSV\Se COASVROUSs Qs Awe = GV VA Varn £8 On

D>v\ LSS Pl ss Ss TS_S Ss ay NAN SS OSS Se

~Oborat -<¢% ooSi\s, S$o.biscsac dj ie ee

Rig VERS FSCat os; TWSSLO Ss: OAS F ie MSIEN Wag cannes

S cytes Ss 6 SN: = S ci sy Be Lo \emi. 8.

C> CMSA AY AOS 1 e sou) ASL e R&y hes Las £f Se

eae ALS Swatch a Shibovins Teas GacCwh sh io
aks Sim dt

SAO) PS asi @civens VAt?hTWe Ven E's 2% = Wis qgntO

molar e aS The ok Ss. ison o8 sWwe-s 2 eos tS

SAC exo\ DINE AnCyS$ Seo See aNe ¢ wN SA Ss

oS Sint & Te 8S Rb oss Te OS SV sh wes VS AST

Case 2:

25-cv-00065-JLB-KCD Document1 Filed 02/10/25 Page 47 of 48 PagelD 47

Se Cewiag NMS O& DSs2 S25 SS i S8eol RN PISS sows

AOmMReS CSO LL. S SVANA CSE US DME VA See ace So Ce

eT S CH] RsSeo SK covemescl CRWear ie

ks CRs 2 Sew se SVAVS ODN Siseciha. gost THe

= 2.

SYS eee SS. S\ Dns SOS TT & EN Bagnet These ole
GSBsvele Yeo S116 sf on SANs & oh

¢ oN) a

We ® ot{ecece wast Bre G82 cpa aworacs
Ssh CLS at 2s MoS Dealowe oh AS COS Ciera ah

Ths SyscS leer CAVA Co ence ix Qiork 6 255 8S)

ees NO ee Se ce ALS) LDS eSsiac Ga> ¢ Sfoesy

eS Coyitab wisi Saavik aos TR st iia 3 Sm

Sor- 1S:

Wn 2. t Sv aaS avs SSiae Lely ew 2S Se 58ndsam

(AS asa, SoS Wee sasceouss oS. 9d 2. 3o> - 955,55 _
Sof GAC Smee PEAY IA THe asesses of £ Ao.

Case ee Ee Document1 Filed 02/10/25 Page 48 of 48 PagelD 48

SS SS rs: Cip > Ce \St yaa
Sane, 7s : as” WAVE AVS &

=e = ‘ Nas 2 S
uN eo. = 25 SVK Sal econ

[Dyace aS

Va? Cle eee SERS Rese HEA =Waessk A way @

TSA SA\e S Ty, ST DNAS ao OL OS Noe ee Ce sy
7 an a = se _— oh Loa} S a aes SE

i teal ae x i
isk SS oases A Se G&SN WSN B= WEES rAm

TAS PSEA) saeco

vs “SA Sc TS ST. Cat oo™M =

Q2Vso SAS SWiitewisS © 5

Sarees = § a SaACKs asa

